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 Fill in this information to identify your case:

 Debtor 1           Kristie                 Jackson               Stargell
                   __________________________________________________________________
                     First Name             Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name                Last Name


                                          Northern District of Georgia
 United States Bankruptcy Court for the: ____________________________________________

 Case number          17-50323-jrs
                     ___________________________________________
  (If known)                                                                                                                           Check if this is an
                                                                                                                                         amended filing




Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                     04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Part 1:         Give Details About Your Marital Status and Where You Lived Before


 1. What is your current marital status?


       Married
      
      X Not married




 2. During the last 3 years, have you lived anywhere other than where you live now?

          No
     
     X
           Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                        Dates Debtor 1       Debtor 2:                                             Dates Debtor 2
                                                                lived there                                                                lived there

                                                                                      Same as Debtor 1                                      Same as Debtor 1

               5445 Trumpet Vine Trail
               __________________________________________       From      04/01/12
                                                                         ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To        04/01/15
                                                                         ________                                                             To    ________
               __________________________________________                               ___________________________________________

                Mableton                GA     30126
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State ZIP Code


                                                                                      Same as Debtor 1                                      Same as Debtor 1

               6320 Love Street
               __________________________________________       From      04/01/15
                                                                         ________       ___________________________________________           From ________
                Number    Street                                                        Number Street
                                                                To        12/01/15
                                                                         ________                                                             To    ________
               __________________________________________                               ___________________________________________

                Austell                 GA     30168
               __________________________________________                               ___________________________________________
               City                     State ZIP Code                                  City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
     
     X     No
          Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




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Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                                        17-50323-jrs
                                                                                                         Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Part 2: Explain the Sources of Your Income

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
    
     X     Yes. Fill in the details.

                                                           Debtor 1                                               Debtor 2

                                                           Sources of income             Gross income             Sources of income            Gross income
                                                           Check all that apply.         (before deductions and   Check all that apply.        (before deductions and
                                                                                         exclusions)                                           exclusions)


            From January 1 of current year until
                                                            
                                                            X
                                                                 Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            15,721.25
                                                                                         $________________            bonuses, tips            $________________
            the date you filed for bankruptcy:
                                                                Operating a business                                Operating a business


            For last calendar year:                         
                                                            X
                                                                 Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips            75,184.45
                                                                                         $________________            bonuses, tips            $________________
                                       2016
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



            For the calendar year before that:              
                                                            X
                                                                 Wages, commissions,                                 Wages, commissions,
                                                                 bonuses, tips                                        bonuses, tips
                                                                                          59,850.00
                                                                                         $________________                                     $________________
                                       2015
            (January 1 to December 31, _________)               Operating a business                                Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

          No
     
     X
           Yes. Fill in the details.
                                                            Debtor 1                                               Debtor 2

                                                            Sources of income            Gross income from         Sources of income           Gross income from
                                                            Describe below.              each source               Describe below.             each source
                                                                                         (before deductions and                                (before deductions and
                                                                                         exclusions)                                           exclusions)


                                                          __________________            $_________________ _____________________ $_________________
            From January 1 of current year until
            the date you filed for bankruptcy:            __________________            $_________________ _____________________ $_________________
                                                          __________________            $_________________ _____________________ $_________________


            For last calendar year:                       Child Support
                                                          __________________             500.00
                                                                                        $_________________ _____________________ $_________________

                                       2016
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________



            For the calendar year before that:            __________________            $_________________ _____________________ $_________________
                                       2015
            (January 1 to December 31, ______)            __________________            $_________________ _____________________ $_________________
                                              YYYY
                                                          __________________            $_________________ _____________________ $_________________




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Debtor 1        Kristie Jackson Stargell
               _______________________________________________________                                                    17-50323-jrs
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name             Last Name




 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
                         total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

    X    Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               X
                    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                        Dates of    Total amount paid        Amount you still owe       Was this payment for…
                                                                        payment


                      ____________________________________
                      Creditor’s Name
                                                                       _________    $_________________ $__________________               Mortgage
                                                                                                                                         Car
                      ____________________________________             _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code                                                                     Other ____________


                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                       _________                                                         Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code
                                                                                                                                         Other ____________



                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________
                      Number    Street
                                                                       _________                                                         Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State         ZIP Code
                                                                                                                                         Other ____________



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Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                  17-50323-jrs
                                                                                                      Case number (if known)_____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     X
           No
          Yes. List all payments to an insider.
                                                                         Dates of     Total amount      Amount you still   Reason for this payment
                                                                         payment      paid              owe


            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________                _________    $____________ $____________
            Insider’s Name

            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     X
           No
          Yes. List all payments that benefited an insider.
                                                                        Dates of       Total amount     Amount you still   Reason for this payment
                                                                        payment        paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________                _________    $____________ $____________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




            ____________________________________________                             $____________ $____________
                                                                        _________
            Insider’s Name


            ____________________________________________                _________
            Number        Street


            ____________________________________________                _________

            ____________________________________________
            City                                 State   ZIP Code




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Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                                              17-50323-jrs
                                                                                                               Case number (if known)_____________________________________
                First Name            Middle Name            Last Name




  Part 4:       Identify Legal Actions, Repossessions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

     
     X
           No
          Yes. Fill in the details.
                                                                    Nature of the case                   Court or agency                                 Status of the case



            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code




            Case title_____________________________
                                                                                                        ________________________________________
                                                                                                        Court Name
                                                                                                                                                           Pending

                                                                                                                                                           On appeal
            ____________________________________                                                        ________________________________________
                                                                                                        Number    Street                                   Concluded

            Case number ________________________                                                        ________________________________________
                                                                                                        City                   State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     X
           No. Go to line 11.
          Yes. Fill in the information below.

                                                                              Describe the property                                     Date          Value of the property



                 _________________________________________                                                                              __________     $______________
                 Creditor’s Name


                 _________________________________________
                 Number      Street                                           Explain what happened

                                                                                  Property was repossessed.
                 _________________________________________
                                                                                  Property was foreclosed.
                                                                                  Property was garnished.
                 _________________________________________
                 City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                              Describe the property                                     Date           Value of the property



                                                                                                                                       __________      $______________
                 _________________________________________
                 Creditor’s Name


                 _________________________________________
                 Number      Street
                                                                              Explain what happened

                 _________________________________________                        Property was repossessed.
                                                                                  Property was foreclosed.
                 _________________________________________                        Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Kristie Jackson Stargell
                  _______________________________________________________                                                      17-50323-jrs
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     X
           No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–___ ___ ___ ___


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     X
           No
          Yes

 Part 5:          List Certain Gifts and Contributions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     X     No
          Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                            Dates you gave        Value
            per person                                                                                                         the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street

           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________
           Number Street


           ______________________________________


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


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Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                           17-50323-jrs
                                                                                                               Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     X
           No
          Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
            that total more than $600                                                                                                   contributed



           _____________________________________                                                                                        _________           $_____________
           Charity’s Name


           _____________________________________                                                                                        _________           $_____________
           Number Street


           _____________________________________



           _____________________________________
           City           State    ZIP Code




 Part 6:           List Certain Losses


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     
     X
           No
          Yes. Fill in the details.

            Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
            the loss occurred                                                                                                                               lost
                                                                   Include the amount that insurance has paid. List pending insurance
                                                                   claims on line 33 of Schedule A/B: Property.


                                                                                                                                        _________           $_____________




 Part 7:          List Certain Payments or Transfers

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     X
           Yes. Fill in the details.

                                                                   Description and value of any property transferred                    Date payment or     Amount of payment
            Hammond & Hammond, P.C.                                                                                                     transfer was made
            ___________________________________
            Person Who Was Paid
                                                                 Attorney Fee
            122 South Main Street
            ___________________________________
            Number       Street                                                                                                         04/07/17
                                                                                                                                        _________            665.00
                                                                                                                                                            $_____________

            ___________________________________
                                                                                                                                        _________           $_____________
            Jonesboro           GA     30236
            ___________________________________
            City                       State    ZIP Code

             allen@hhdebthelp.com
            ____________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You



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                   _______________________________________________________                                                          17-50323-jrs
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or        Amount of
                                                                                                                                     transfer was made      payment

            PreBk.com
            ____________________________________                  Credit Counseling
            Person Who Was Paid
                                                                                                                                     01/03/17
                                                                                                                                     _________              14.95
                                                                                                                                                           $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     X     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or       Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     X
           No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

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Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                         17-50323-jrs
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     X
           No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust __________________________


           ______________________________________




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     X
           No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___             Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     X
           No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________
            Name of Financial Institution
                                                                  _______________________________________
                                                                  Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________                                                      
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



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                      _______________________________________________________                                                                     17-50323-jrs
                                                                                                                           Case number (if known)_____________________________________
                      First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    X
             No
            Yes. Fill in the details.
                                                                       Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                            have it?


               ___________________________________                     _______________________________________                                                                No
               Name of Storage Facility                                Name                                                                                                   Yes
               ___________________________________                     _______________________________________                                                               
               Number       Street                                     Number    Street

               ___________________________________                     _______________________________________
                                                                       City State ZIP Code
               ___________________________________
               City                        State     ZIP Code



 Part 9:                Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
        X
             No
            Yes. Fill in the details.
                                                                      Where is the property?                                    Describe the property                    Value


               ___________________________________
               Owner’s Name                                                                                                                                              $__________
                                                                     _________________________________________
               ___________________________________                   Number     Street
               Number        Street
                                                                     _________________________________________
               ___________________________________
                                                                     _________________________________________
               ___________________________________                   City                             State     ZIP Code
               City                        State     ZIP Code


 Part 10:               Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


        X
             No
            Yes. Fill in the details.
                                                                       Governmental unit                            Environmental law, if you know it                   Date of notice



              ____________________________________                    _______________________________                                                                    _________
              Name of site                                            Governmental unit

              ____________________________________                    _______________________________
              Number       Street                                     Number    Street

                                                                      _______________________________
              ____________________________________                    City                   State   ZIP Code


              ____________________________________
              City                        State     ZIP Code



Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10
            Case 17-50323-jrs                      Doc 37                 Filed 05/03/17 Entered 05/03/17 15:47:31                                         Desc Main
                                                                         Document      Page 11 of 72
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                                     17-50323-jrs
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     X
           No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                    Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                         _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     X
           No
          Yes. Fill in the details.
                                                                                                                                                                         Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                         case

           Case title______________________________
                                                                    ________________________________
                                                                    Court Name
                                                                                                                                                                          Pending
           ______________________________________
                                                                                                                                                                          On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                    Concluded

           ______________________________________
           Case number                                              ________________________________
                                                                    City                        State   ZIP Code
                                                                                                                                                                         

 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
               A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

     X
           No. None of the above applies. Go to Part 12.
          Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________
                                                                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed
            ____________________________________

                                                                                                                                       From     _______ To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                    page 11
            Case 17-50323-jrs                      Doc 37                Filed 05/03/17 Entered 05/03/17 15:47:31                               Desc Main
                                                                        Document      Page 12 of 72
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                           17-50323-jrs
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                                                                            Employer Identification number
                                                                    Describe the nature of the business
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                    Name of accountant or bookkeeper                        Dates business existed

            ____________________________________

            ____________________________________                                                                            From     _______ To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     X
           No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Part 12:          Sign Below


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




            /s/Kristie Jackson Stargell
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


                  3 May 2017
            Date ________________                                                    Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      X      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      X     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
               Case 17-50323-jrs                 Doc 37          Filed 05/03/17 Entered 05/03/17 15:47:31                           Desc Main
                                                                Document      Page 13 of 72
Fill in this information to identify your case and this filing:


Debtor 1          Kristie            Jackson              Stargell
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        Northern District of Georgia
United States Bankruptcy Court for the: ______________________________________

Case number         17-50323-jrs
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                  12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:        Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    X
         Yes. Where is the property?
                                                                 What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 X
                                                                      Single-family home                           the amount of any secured claims on Schedule D:
            217 Saint Michaels Lane SE
      1.1. _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property.
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the     Current value of the
                                                                     Manufactured or mobile home                  entire property?         portion you own?
             _________________________________________
                                                                     Land                                          301,831.00
                                                                                                                   $________________         301,831.00
                                                                                                                                            $_______________
                                                                     Investment property
              Mableton       GA              30126
             _________________________________________
             City                    State    ZIP Code
                                                                     Timeshare                                    Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                    Fee Simple Ownership
                                                                                                                   __________________________________________
              Cobb                                               
                                                                 X Debtor 1 only
             _________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                       Check if this is community property
                                                                                                                       (see instructions)
                                                                 At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number: _______________________________
    If you own or have more than one, list here:
                                                                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare
                                                                                                                   Describe the nature of your ownership
                                                                                                                   interest (such as fee simple, tenancy by
                                                                    Other __________________________________      the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.    __________________________________________

                                                                
                                                                 Debtor 1 only
             ________________________________________
             County                                             
                                                                 Debtor 2 only
                                                                
                                                                 Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                
                                                                 At least one of the debtors and another               (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number: _______________________________


   Official Form 106A/B                                          Schedule A/B: Property                                                             page 1
            Case 17-50323-jrs                  Doc 37             Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1       Kristie      Jackson          Stargell            Document
               _______________________________________________________         Page 14 of Case
                                                                                           72 number (if known)_____________________________________
                                                                                                               17-50323-jrs
               First Name       Middle Name          Last Name




                                                                  What is the property? Check all that apply.             Do not deduct secured claims or exemptions. Put

    1.3. ________________________________________
                                                                     Single-family home                                  the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
         Street address, if available, or other description          Duplex or multi-unit building
                                                                     Condominium or cooperative                          Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
           ________________________________________                  Manufactured or mobile home
                                                                     Land                                                $________________         $_________________

           ________________________________________                  Investment property
           City                    State   ZIP Code                  Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                     Other __________________________________            the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                  Who has an interest in the property? Check one.
           ________________________________________               
                                                                   Debtor 1 only
           County
                                                                  
                                                                   Debtor 2 only
                                                                  
                                                                   Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                  
                                                                   At least one of the debtors and another
                                                                                                                              (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number: _______________________________


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  301,831.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 




Part 2:     Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

   No
   
   X Yes




           Make:                      See
                                      ______________              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.1.

           Model:                     GLK350
                                      ______________              
                                                                  X Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                      2010
                                                                  Debtor 2 only
           Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only                            Current value of the      Current value of the
                                73250                                                                                     entire property?          portion you own?
           Approximate mileage: ____________                      At least one of the debtors and another
           Other information:
                                                                   Check if this is community property (see               12,625.00
                                                                                                                          $________________          12,625.00
                                                                                                                                                    $________________
                                                                      instructions)



   If you own or have more than one, describe here:

           Make:                       Lexus
                                      ______________              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.2.

           Model:                      RX 330
                                      ______________              
                                                                  X
                                                                    Debtor 1 only
                                                                                                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                       2004
                                                                  Debtor 2 only
           Year:                      ____________
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                          Current value of the
                                                                                                                          entire property?
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                 284675
           Approximate mileage: ____________                      At least one of the debtors and another
           Other information:
                                                                                                                           7,600.00                   7,600.00
                                                                   Check if this is community property (see              $________________         $________________
                                                                      instructions)




Official Form 106A/B                                              Schedule A/B: Property                                                                   page 2
              Case 17-50323-jrs                           Doc 37              Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1           Kristie      Jackson          Stargell
                   _______________________________________________________   Document      Page 15 of Case
                                                                                                       72 number (if known)_____________________________________
                                                                                                                           17-50323-jrs
                   First Name         Middle Name                Last Name




            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.3.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)


            Make:                            ______________                   Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   3.4.

            Model:                           ______________                   
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:                            ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
                                                                                                                                                         entire property?                 portion you own?
            Approximate mileage: ____________                                 
                                                                               At least one of the debtors and another
            Other information:
                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                   instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   X No
    Yes

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________
                                                                              
                                                                               Debtor 1 and Debtor 2 only                                                Current value of the             Current value of the
            Other information:                                                
                                                                               At least one of the debtors and another                                   entire property?                 portion you own?

                                                                               Check if this is community property (see                                 $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:

            Make:       ____________________                                  Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.

            Model: ____________________                                       
                                                                               Debtor 1 only
                                                                                                                                                         the amount of any secured claims on Schedule D:
                                                                                                                                                         Creditors Who Have Claims Secured by Property.
                                                                              
                                                                               Debtor 2 only
            Year:       ____________                                                                                                                     Current value of the             Current value of the
                                                                              
                                                                               Debtor 1 and Debtor 2 only
                                                                                                                                                         entire property?                 portion you own?
            Other information:                                                
                                                                               At least one of the debtors and another

                                                                                                                                                         $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                       20,225.00
                                                                                                                                                                                         $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................ 




Official Form 106A/B                                                           Schedule A/B: Property                                                                                           page 3
               Case 17-50323-jrs                                Doc 37               Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1            Kristie      Jackson          Stargell
                    _______________________________________________________         Document      Page 16 of Case
                                                                                                              72 number (if known)_____________________________________
                                                                                                                                  17-50323-jrs
                    First Name            Middle Name                  Last Name




Part 3:        Describe Your Personal and Household Items

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
       No
   
   X
        Yes. Describe. ........          All HHG                                                                                                                                                     3,000.00
                                                                                                                                                                                                    $___________________

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
       No
   
   X    Yes. Describe. ......... All           electronics                                                                                                                                           1,000.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No
   X Yes. Describe. ......... All collectibles
                                                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   X    No
       Yes. Describe. .........                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   X No

    Yes. Describe. ..........                                                                                                                                                                      $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
       No
                               All            clothing
   X    Yes. Describe. ..........                                                                                                                                                                    200.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No
   
   X    Yes. Describe. ..........All           jewelry                                                                                                                                                500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   X    No
       Yes. Describe. ............                                                                                                                                                                 $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   X
        No
       Yes. Give specific
                                                                                                                                                                                                    $___________________
        information..................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                       4,800.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 4
              Case 17-50323-jrs                                       Doc 37                 Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1             Kristie     Jackson          Stargell
                    _______________________________________________________                 Document      Page 17 of Case
                                                                                                                      72 number (if known)_____________________________________
                                                                                                                                           17-50323-jrs
                    First Name              Middle Name                       Last Name




Part 4:       Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                          Current value of the
                                                                                                                                                                                                                     portion you own?
                                                                                                                                                                                                                     Do not deduct secured claims
                                                                                                                                                                                                                     or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition


 X     No
     Yes .....................................................................................................................................................................    Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   X   Yes .....................                                                                  Institution name:


                                             17.1. Checking account:                              Bank of America
                                                                                                  _________________________________________________________                                                            100.00
                                                                                                                                                                                                                      $__________________

                                             17.2. Checking account:                              _________________________________________________________                                                           $__________________

                                             17.3. Savings account:                               Bank of America
                                                                                                  _________________________________________________________                                                            20.00
                                                                                                                                                                                                                      $__________________

                                             17.4. Savings account:                               Pinnacle CU
                                                                                                  _________________________________________________________                                                            25.00
                                                                                                                                                                                                                      $__________________

                                             17.5. Certificates of deposit:                       _________________________________________________________                                                           $__________________

                                             17.6. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.7. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.8. Other financial account:                       _________________________________________________________                                                           $__________________

                                             17.9. Other financial account:                       _________________________________________________________                                                           $__________________




18. Bonds, mutual funds, or publicly traded stocks
  Examples: Bond funds, investment accounts with brokerage firms, money market accounts

 X     No
     Yes ..................                Institution or issuer name:

                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________
                                             _________________________________________________________________________________________                                                                                $__________________




19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture

   
   X No                                      Name of entity:                                                                                                                         % of ownership:
   Yes. Give specific                      _____________________________________________________________________                                                                   ___________%                     $__________________
       information about
       them. ........................        _____________________________________________________________________                                                                   ___________%                     $__________________
                                             _____________________________________________________________________                                                                   ___________%                     $__________________




Official Form 106A/B                                                                            Schedule A/B: Property                                                                                                            page 5
              Case 17-50323-jrs                           Doc 37             Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1            Kristie     Jackson          Stargell
                   _______________________________________________________  Document      Page 18 of Case
                                                                                                      72 number (if known)_____________________________________
                                                                                                                           17-50323-jrs
                   First Name            Middle Name            Last Name




20. Government and corporate bonds and other negotiable and non-negotiable instruments
   Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
   Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.


 X No

 Yes. Give specific                    Issuer name:
       information about
       them. ......................      ______________________________________________________________________________________            $__________________
                                         ______________________________________________________________________________________
                                                                                                                                           $__________________
                                         ______________________________________________________________________________________            $__________________


21. Retirement or pension accounts
   Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   X   No
      Yes. List each
       account separately. . Type of account:                      Institution name:

                                         401(k) or similar plan:   ___________________________________________________________________     $__________________

                                         Pension plan:             ___________________________________________________________________     $__________________

                                         IRA:                      ___________________________________________________________________     $__________________

                                         Retirement account:       ___________________________________________________________________     $__________________

                                         Keogh:                    ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________

                                         Additional account:       ___________________________________________________________________     $__________________



22. Security deposits and prepayments
   Your share of all unused deposits you have made so that you may continue service or use from a company
   Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
   companies, or others

   
   X   No
      Yes ...........................                         Institution name or individual:

                                         Electric:             ______________________________________________________________________      $___________________
                                         Gas:                  ______________________________________________________________________      $___________________
                                         Heating oil:          ______________________________________________________________________
                                                                                                                                           $___________________
                                         Security deposit on rental unit: _____________________________________________________________
                                                                                                                                           $___________________
                                         Prepaid rent:         ______________________________________________________________________
                                                                                                                                           $___________________
                                         Telephone:            ______________________________________________________________________
                                                                                                                                           $___________________
                                         Water:                ______________________________________________________________________
                                                                                                                                           $___________________
                                         Rented furniture:     ______________________________________________________________________
                                                                                                                                           $___________________
                                         Other:                ______________________________________________________________________
                                                                                                                                           $___________________


23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

   
   X   No
      Yes ...........................   Issuer name and description:
                                          _______________________________________________________________________________________          $__________________
                                         _______________________________________________________________________________________           $__________________
                                         _______________________________________________________________________________________           $__________________


Official Form 106A/B                                                         Schedule A/B: Property                                                  page 6
             Case 17-50323-jrs                             Doc 37            Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1           Kristie      Jackson          Stargell
                   _______________________________________________________  Document      Page 19 of Case
                                                                                                      72 number (if known)_____________________________________
                                                                                                                          17-50323-jrs
                   First Name             Middle Name           Last Name




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   X   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________
                                                   ____________________________________________________________________________________                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   X   No
      Yes. Give specific
       information about them. ..                                                                                                                       $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   X
       No
      Yes. Give specific information                                                                                         Federal:              $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                $_________________
            and the tax years. ......................
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
   
   X   Yes. Give specific information. .............          Past due child support
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    9,034.39
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   X   No
      Yes. Give specific information. ...............
                                                                                                                                                        $______________________



Official Form 106A/B                                                         Schedule A/B: Property                                                               page 7
               Case 17-50323-jrs                                Doc 37               Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1            Kristie      Jackson          Stargell
                    _______________________________________________________         Document      Page 20 of Case
                                                                                                              72 number (if known)_____________________________________
                                                                                                                                  17-50323-jrs
                    First Name            Middle Name                  Last Name




31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   X    No
       Yes. Name the insurance company              Company name:                                                                               Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ....
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________
                                                                      ___________________________________________ ____________________________                                                       $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   X    No
       Yes. Give specific information. .............
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   X    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   X
        No
       Yes. Give specific information. ...........
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       9,179.39
                                                                                                                                                                                                     $_____________________




Part 5:          Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

   
   X
        No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned


 X      No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

   
   X
        No
       Yes. Describe ........                                                                                                                                                                     $_____________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 8
               Case 17-50323-jrs                                Doc 37               Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1             Kristie     Jackson          Stargell
                    _______________________________________________________         Document      Page 21 of Case
                                                                                                              72 number (if known)_____________________________________
                                                                                                                                   17-50323-jrs
                    First Name             Middle Name                 Last Name




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

   
   X    No
       Yes. Describe ........
                                                                                                                                                                                                   $_____________________


41. Inventory
   
   X    No
       Yes. Describe ........                                                                                                                                                                     $_____________________


42. Interests in partnerships or joint ventures

   
   X    No
       Yes. Describe ........ Name of entity:                                                                                                                        % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________

43. Customer lists, mailing lists, or other compilations
 
 X      No
      Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                
                X
                      No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
   
   X    No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________
                                         ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Part 6:          Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   X
     No. Go to Part 7.
    Yes. Go to line 47.
                                                                                                                                                                                                 Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
   
   X    No
       Yes ...........................

                                                                                                                                                                                                     $___________________



Official Form 106A/B                                                                   Schedule A/B: Property                                                                                                   page 9
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 Debtor 1               Kristie     Jackson          Stargell
                       _______________________________________________________           Document      Page 22 of Case
                                                                                                                   72 number (if known)_____________________________________
                                                                                                                                        17-50323-jrs
                       First Name             Middle Name                   Last Name




48. Crops—either growing or harvested

     
     X     No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

50. Farm and fishing supplies, chemicals, and feed

     
     X     No
          Yes ...........................
                                                                                                                                                                                                                $___________________

51. Any farm- and commercial fishing-related property you did not already list

 X         No
          Yes. Give specific
           information. ............                                                                                                                                                                            $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
                                                                                                                                                                                                                 0.00
                                                                                                                                                                                                                $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Part 7:             Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     X     No
                                                                                                                                                                                                                 $________________
          Yes. Give specific
           information. ............                                                                                                                                                                              $________________
                                                                                                                                                                                                                  $________________


54. Add the dollar value of all of your entries from Part 7. Write that number here ...................................................................                                                          $________________




Part 8:             List the Totals of Each Part of this Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................      301,831.00
                                                                                                                                                                                                                $________________

56. Part 2: Total vehicles, line 5                                                                                    20,225.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               4,800.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           9,179.39
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                             + $________________
                                                                                                                    0.00

62. Total personal property. Add lines 56 through 61. ...................                                             34,204.39
                                                                                                                     $________________ Copy personal property total                                           + $_________________
                                                                                                                                                                                                                  34,204.39


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                        336,035.39
                                                                                                                                                                                                                $_________________



 Official Form 106A/B                                                                        Schedule A/B: Property                                                                                                      page 10
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                                Attachment
        Debtor: Kristie Jackson Stargell   Case No: 17-50323-jrs

Attachment 1
        Mercedes-Benz
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                                                             Document      Page 24 of 72
 Fill in this information to identify your case:

 Debtor 1          Kristie              Jackson             Stargell
                   __________________________________________________________________
                     First Name               Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name               Middle Name               Last Name


                                         Northern  District
                                          __________ District ofof Georgia
 United States Bankruptcy Court for the: _____________________________________________
                                                                 __________

 Case number
  (If known)
                     17-50323-jrs
                     ___________________________________________                                                                             Check if this is an
                                                                                                                                                amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                              04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     X You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the        Amount of the exemption you claim        Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own
                                                            Copy the value from         Check only one box for each exemption.
                                                            Schedule A/B

      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(1)
                                                                                                                                 ____________________________
      description:
                             Residence
                             _________________________       301,831.00
                                                            $________________            
                                                                                         X   21,500.00
                                                                                           $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    1.1
      Schedule A/B: ______                                                                  any applicable statutory limit      ____________________________


      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                                 ____________________________
      description:
                             Checking
                             _________________________       100.00
                                                            $________________            
                                                                                         X   100.00
                                                                                           $ ____________                        ____________________________
      Line from     17.1
                                                                                          100% of fair market value, up to      ____________________________
                    ______                                                                  any applicable statutory limit       ____________________________
      Schedule A/B:

      Brief                                                                                                                      Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                                 ____________________________
      description:
                             Savings
                             _________________________        20.00
                                                            $________________            
                                                                                         X    20.00
                                                                                           $ ____________                        ____________________________
      Line from                                                                           100% of fair market value, up to      ____________________________
                    17.3
      Schedule A/B: ______                                                                  any applicable statutory limit       ____________________________


 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     X     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                       2
                                                                                                                                                     page 1 of __
           Case 17-50323-jrs                 Doc 37 Filed 05/03/17 Entered 05/03/17 15:47:31 Desc Main
Debtor 1     Kristie Jackson Stargell             Document
             _______________________________________________________
                                                                     Page 25 of Case
                                                                                 72 number (if known)_____________________________________
                                                                                                     17-50323-jrs
             First Name        Middle Name      Last Name




 Part 2:    Additional Page

      Brief description of the property and line        Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule A/B that lists this property          portion you own
                                                        Copy the value from    Check only one box for each exemption
                                                        Schedule A/B

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(6)
                                                                                                                       ____________________________
     description:
                          Savings
                          _________________________      25.00
                                                        $________________         25.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from     17.4
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All HHG
                          _________________________      3,000.00
                                                        $________________      
                                                                               X   3,000.00
                                                                                 $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   6
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All electronics
                          _________________________      1,000.00
                                                        $________________      
                                                                               X   1,000.00
                                                                                 $ ____________                        ____________________________
     Line from     7
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                          All collectibles
                          _________________________      100.00
                                                        $________________      
                                                                               X   100.00
                                                                                 $ ____________                        ____________________________
     Line from     8
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(4)
                                                                                                                       ____________________________
     description:
                           All clothing
                          _________________________      200.00
                                                        $________________         200.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                    11
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(5)
                                                                                                                       ____________________________
     description:
                          Al jewelry
                          _________________________      500.00
                                                        $________________         500.00
                                                                               X $ ____________
                                                                                                                       ____________________________
     Line from      12
                                                                                100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             Ga. Code Ann. § 44-13-100(a)(3)
                                                                                                                       ____________________________
     description:
                          2004 Lexus RX 330 with
                          _________________________      7,600.00
                                                        $________________      
                                                                               X   5,000.00
                                                                                 $ ____________                        ____________________________
     Line from     3.1
                   ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from     ______
                                                                                100% of fair market value, up to      ____________________________
     Schedule A/B:                                                                any applicable statutory limit      ____________________________

     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                                                                                                                       ____________________________
     Schedule A/B: ______                                                         any applicable statutory limit


     Brief                                                                                                             ____________________________
     description:
                          _________________________     $________________       $ ____________                        ____________________________
     Line from                                                                  100% of fair market value, up to      ____________________________
                   ______                                                         any applicable statutory limit       ____________________________
     Schedule A/B:


Official Form 106C                                    Schedule C: The Property You Claim as Exempt                                            2 of __
                                                                                                                                        page ___   2
                Case 17-50323-jrs                    Doc 37            Filed 05/03/17 Entered 05/03/17 15:47:31                                        Desc Main
                                                                      Document      Page 26 of 72
Fill in this information to identify your case:

Debtor 1          Kristie Jackson Stargell
                  __________________________________________________________________
                    First Name                   Middle Name                      Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                   Middle Name                      Last Name


                                        Northern District of Georgia
United States Bankruptcy Court for the: ______________________________________

Case number         17-50323-jrs
                    ___________________________________________
(If known)                                                                                                                                                  Check if this is an
                                                                                                                                                               amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
            No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      X
             Yes. Fill in all of the information below.


Part 1:          List All Secured Claims
                                                                                                                              Column A               Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately                       Amount of claim        Value of collateral   Unsecured
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.                   Do not deduct the      that supports this    portion
      As much as possible, list the claims in alphabetical order according to the creditor’s name.                            value of collateral.   claim                 If any

2.1                                                            Describe the property that secures the claim:                    237,800.00
                                                                                                                              $_________________   301,831.00 $____________
                                                                                                                                                 $________________ 0.00
      Caliber Home Loans, Inc.
      ______________________________________
      Creditor’s Name
                                                           Residence
      POB 650856
      ______________________________________
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Dallas                TX See
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
   
   X
           Debtor 1 only                                       
                                                               X
                                                                   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
2.2                                                            Describe the property that secures the claim:                   18,000.00
                                                                                                                              $_________________   12,625.00
                                                                                                                                                 $________________   0.00
                                                                                                                                                                   $____________
      Capital One Auto Finance
      ______________________________________
      Creditor’s Name
                                                           2010 Mercedes-Benz GLK350 with 73250
      POB 259407
      ______________________________________
                                                           miles.
      Number            Street

                                                               As of the date you file, the claim is: Check all that apply.
      ______________________________________
                                                                  Contingent
      Plano                 TX 75025
      ______________________________________                      Unliquidated
      City                           State   ZIP Code             Disputed
   Who owes the debt? Check one.                               Nature of lien. Check all that apply.
   
   X
           Debtor 1 only                                       
                                                               X   An agreement you made (such as mortgage or secured
          Debtor 2 only                                           car loan)
          Debtor 1 and Debtor 2 only                             Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another                Judgment lien from a lawsuit
                                                                  Other (including a right to offset) ____________________
     Check if this claim relates to a
      community debt
   Date debt was incurred ____________                         Last 4 digits of account number ___ ___ ___ ___
      Add the dollar value of your entries in Column A on this page. Write that number here:                                   255,800.00
                                                                                                                              $_________________


  Official Form 106D                              Schedule D: Creditors Who Have Claims Secured by Property                                                                 4
                                                                                                                                                                 page 1 of ___
               Case 17-50323-jrs                     Doc 37          Filed 05/03/17 Entered 05/03/17 15:47:31                                    Desc Main
                                                                    Document      Page 27 of 72
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                           17-50323-jrs
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                                 Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                         Do not deduct the
                 by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.3                                                                                                                       2,040.07            7,600.00          0.00
       Pinnacle Credit Union
       ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
       Creditor’s Name

       536 North Aveneu NE
       ______________________________________           2004 Lexus RX 330 with 284675 miles.
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Atlanta               GA 30308
       ______________________________________                Contingent
       City                   State ZIP Code                 Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                 
                                                         X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.4                                                      Describe the property that secures the claim:                     412.00
                                                                                                                         $_________________   400.00
                                                                                                                                            $________________   0.00
                                                                                                                                                              $____________
        Rooms To Go
       ______________________________________
       Creditor’s Name

        1000 Macarthur Blvd
       ______________________________________
                                                        HHG
       Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                             Contingent
        Mahwah               NJ 07430
       ______________________________________                Unliquidated
       City                          State   ZIP Code
                                                             Disputed
      Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
      
      X
           Debtor 1 only
                                                         
                                                         X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit

          Check if this claim relates to a
                                                             Other (including a right to offset) ____________________
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.5                                                                                                                        0.00               301,831.00 $____________
                                                                                                                                                              0.00
       Stonybrook HOA
       ______________________________________            Describe the property that secures the claim:                   $_________________ $________________
       Creditor’s Name

       See Attachment 2
       ______________________________________
                                                        Residence
       Number            Street

       1465 Northside Drive, NE, Suite 128
       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Atlanta               GA See
       ______________________________________                Contingent
       City                          State   ZIP Code        Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                     An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                         
                                                         X                                        HOA
                                                              Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      2,452.07
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:                                                                                    $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___   4
                                                                                                                                                                  2 of ___
               Case 17-50323-jrs                     Doc 37          Filed 05/03/17 Entered 05/03/17 15:47:31                                    Desc Main
                                                                    Document      Page 28 of 72
Debtor 1           Kristie Jackson Stargell
                   _______________________________________________________                                                           17-50323-jrs
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name          Last Name




                 Additional Page                                                                                         Column A               Column B              Column C
 Part 1:                                                                                                                 Amount of claim        Value of collateral   Unsecured
                 After listing any entries on this page, number them beginning with 2.3, followed                                               that supports this    portion
                                                                                                                         Do not deduct the
                 by 2.4, and so forth.                                                                                   value of collateral.   claim                 If any
2.6                                                                                                                       2,100.00            2,100.00          0.00
       W. S. Badcock Corp.
       ______________________________________            Describe the property that secures the claim:                   $_________________ $________________ $____________
       Creditor’s Name

       POB 724
       ______________________________________           HHG
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       Mulberry              FL 33860
       ______________________________________                Contingent
       City                   State ZIP Code                 Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      
      X
           Debtor 1 only                                 
                                                         X    An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt

      Date debt was incurred ____________                                                 8 ___
                                                         Last 4 digits of account number ___ 0 ___
                                                                                                2 ___
                                                                                                   7
2.7                                                      Describe the property that secures the claim:                   $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

                                                         As of the date you file, the claim is: Check all that apply.
       ______________________________________
                                                             Contingent
       ______________________________________                Unliquidated
       City                          State   ZIP Code
                                                             Disputed
      Who owes the debt? Check one.
                                                         Nature of lien. Check all that apply.
          Debtor 1 only
                                                             An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit

          Check if this claim relates to a
                                                             Other (including a right to offset) ____________________
           community debt

      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

2.8                                                      Describe the property that secures the claim:                   $_________________ $________________ $____________
       ______________________________________
       Creditor’s Name

       ______________________________________
       Number            Street

       ______________________________________            As of the date you file, the claim is: Check all that apply.
       ______________________________________                Contingent
       City                          State   ZIP Code        Unliquidated
                                                             Disputed
      Who owes the debt? Check one.                      Nature of lien. Check all that apply.
          Debtor 1 only                                     An agreement you made (such as mortgage or secured
          Debtor 2 only                                      car loan)
          Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic’s lien)
          At least one of the debtors and another           Judgment lien from a lawsuit
                                                             Other (including a right to offset) ____________________
          Check if this claim relates to a
           community debt
      Date debt was incurred ____________                Last 4 digits of account number ___ ___ ___ ___

              Add the dollar value of your entries in Column A on this page. Write that number here: $_________________
                                                                                                      2,100.00
              If this is the last page of your form, add the dollar value totals from all pages.
              Write that number here:
                                                                                                                          260,352.07
                                                                                                                         $_________________

  Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page ___   4
                                                                                                                                                                  3 of ___
            Case 17-50323-jrs               Doc 37           Filed 05/03/17 Entered 05/03/17 15:47:31                             Desc Main
                                                            Document      Page 29 of 72
Debtor 1      Kristie Jackson Stargell
              _______________________________________________________                                                  17-50323-jrs
                                                                                                Case number (if known)_____________________________________
              First Name     Middle Name        Last Name


  Part 2:      List Others to Be Notified for a Debt That You Already Listed

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                                                                                2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Barrett Daffin Frappier Levine & Block. LLP
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      4004 Belt Line Road
      _____________________________________________________________________
      Number     Street

      Suite 100
      _____________________________________________________________________

      Addison                              TX             75001
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                                                                                2.4
                                                                                           On which line in Part 1 did you enter the creditor? _____
      Rooms To Go
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      POB 960061
      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      Orlando                              FL             32896-0061
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number ___ ___ ___ ___

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code



  Official Form 106D                       Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page ___   4
                                                                                                                                                   4 of ___
Case 17-50323-jrs    Doc 37    Filed 05/03/17 Entered 05/03/17 15:47:31   Desc Main
                              Document      Page 30 of 72



                                Attachment
        Debtor: Kristie Jackson Stargell   Case No: 17-50323-jrs

Attachment 1
        75265-0856
Attachment 2
        c/o Community Managmant Associates, Inc.
        30318-4220
                Case 17-50323-jrs                     Doc 37        Filed 05/03/17 Entered 05/03/17 15:47:31                                        Desc Main
 Fill in this information to identify your case:                   Document      Page 31 of 72

 Debtor 1              Kristie Jackson Stargell
                      __________________________________________________________________
                       First Name                    Middle Name             Last Name

 Debtor 2              ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name             Last Name


                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________

                        17-50323-jrs                                                                                                                   Check if this is an
 Case number           ___________________________________________
  (If known)                                                                                                                                             amended filing


Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

 Part 1:             List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
        
        X
          No. Go to Part 2.
         Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
        each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
        nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
        unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                      Total claim     Priority    Nonpriority
                                                                                                                                                      amount      amount
2.1
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___            $_____________ $___________ $____________
         Priority Creditor’s Name

         ____________________________________________                 When was the debt incurred?          ____________
         Number             Street
         ____________________________________________
                                                                      As of the date you file, the claim is: Check all that apply.
         ____________________________________________
         City                                State      ZIP Code
                                                                         Contingent
                                                                         Unliquidated
         Who incurred the debt? Check one.
                                                                         Disputed
               Debtor 1 only
               Debtor 2 only                                         Type of PRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                               Domestic support obligations
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
               Check if this claim is for a community debt              Claims for death or personal injury while you were
         Is the claim subject to offset?                                  intoxicated
               No                                                       Other. Specify _________________________________
               Yes
2.2
         ____________________________________________                 Last 4 digits of account number ___ ___ ___ ___                $_____________ $___________ $____________
         Priority Creditor’s Name
                                                                      When was the debt incurred?          ____________
         ____________________________________________
         Number             Street
         ____________________________________________                 As of the date you file, the claim is: Check all that apply.

         ____________________________________________
                                                                         Contingent
         City                                State      ZIP Code         Unliquidated
         Who incurred the debt? Check one.                               Disputed
               Debtor 1 only
                                                                      Type of PRIORITY unsecured claim:
               Debtor 2 only
                                                                         Domestic support obligations
               Debtor 1 and Debtor 2 only
               At least one of the debtors and another
                                                                         Taxes and certain other debts you owe the government
                                                                         Claims for death or personal injury while you were
               Check if this claim is for a community debt               intoxicated
         Is the claim subject to offset?                                 Other. Specify _________________________________
               No
               Yes


Official Form 106E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                      10
                                                                                                                                                           page 1 of ___
               Case  17-50323-jrs Doc 37
                 Kristie Jackson Stargell
                                                                       Filed 05/03/17 Entered 05/03/17 15:47:31     17-50323-jrs
                                                                                                                                 Desc Main
Debtor 1             _______________________________________________________
                     First Name      Middle Name          Last Name   Document      Page 32 of Case
                                                                                                72 number (if known)_____________________________________
  Part 2:           List All of Your NONPRIORITY Unsecured Claims

  3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      X
        Yes

  4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      priority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than four priority unsecured claims
      fill out the Continuation Page of Part 2.

                                                                                                                                                                  Total claim
4.1
       Bank of America, N.A.
       _____________________________________________________________                    Last 4 digits of account number ___ ___ ___ ___
       Nonpriority Creditor’s Name                                                                                                                               3,700.00
                                                                                                                                                                $__________________
                                                                                        When was the debt incurred?           ____________
       Loss/Recovery POB 982284
       _____________________________________________________________
       Number               Street

       El Paso                  TX               79998
       _____________________________________________________________
       City                                              State         ZIP Code         As of the date you file, the claim is: Check all that apply.

                                                                                           Contingent
       Who incurred the debt? Check one.                                                   Unliquidated
          X
               Debtor 1 only                                                               Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                               Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another                                     Student loans

              Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
       Is the claim subject to offset?                                                     Debts to pension or profit-sharing plans, and other similar debts
       
       X
               No                                                                       
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify ______________________________________
              Yes

4.2
       Basix                                                                            Last 4 digits of account number ___ ___ ___ ___                           3,933.00
                                                                                                                                                                $__________________
       _____________________________________________________________
       Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
       Dept LA 24483
       _____________________________________________________________
       Number               Street
                                                                                        As of the date you file, the claim is: Check all that apply.
        Pasadena              CA                  91185-4483
       _____________________________________________________________
       City                                              State         ZIP Code
                                                                                           Contingent
       Who incurred the debt? Check one.                                                   Unliquidated

          X
               Debtor 1 only
                                                                                           Disputed

              Debtor 2 only
                                                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only
              At least one of the debtors and another                                     Student loans
                                                                                           Obligations arising out of a separation agreement or divorce
              Check if this claim is for a community debt                                  that you did not report as priority claims
       Is the claim subject to offset?                                                     Debts to pension or profit-sharing plans, and other similar debts

          X
               No                                                                       
                                                                                        X                  unsecured loan
                                                                                            Other. Specify ______________________________________

              Yes

4.3
       Capital One Bank (USA), NA
       _____________________________________________________________                    Last 4 digits of account number ___ ___ ___ ___
                                                                                                                                                                  600.00
       Nonpriority Creditor’s Name                                                                                                                              $_________________
                                                                                        When was the debt incurred?           ____________
       POB 30281
       _____________________________________________________________
       Number               Street

       Salt Lake City           UT               84130
       _____________________________________________________________                    As of the date you file, the claim is: Check all that apply.
       City                                              State         ZIP Code

                                                                                           Contingent
       Who incurred the debt? Check one.
                                                                                           Unliquidated
          X
               Debtor 1 only
                                                                                           Disputed
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                        Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                                           Student loans
              Check if this claim is for a community debt                                 Obligations arising out of a separation agreement or divorce
                                                                                            that you did not report as priority claims
       Is the claim subject to offset?
                                                                                           Debts to pension or profit-sharing plans, and other similar debts
       
       X       No
                                                                                        
                                                                                        X                  Credit Card Charges
                                                                                            Other. Specify ______________________________________
              Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                         page2__ of ___
                                                                                                                                                                                10
              Case  17-50323-jrs
                Kristie               Doc 37
                        Jackson Stargell                               Filed 05/03/17 Entered 05/03/17 15:47:31     17-50323-jrs Desc Main
Debtor 1           _______________________________________________________
                   First Name       Middle Name           Last Name   Document      Page 33 of Case
                                                                                                72 number (if known)_____________________________________
 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                           Total claim


4.4                                                                                                                       5 ___
                                                                                         Last 4 digits of account number ___ 5 ___
                                                                                                                                7 ___
                                                                                                                                   5
      Children's Healthcare of Atlanta
      _____________________________________________________________                                                                                                460.00
                                                                                                                                                                 $____________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
      POB 3475
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      Toledo                   OH               43607
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  Medical Services
                                                                                             Other. Specify________________________________
      
      X
             No
            Yes



4.5
      Discover Bank                                                                      Last 4 digits of account number ___ ___ ___ ___                           1,000.00
                                                                                                                                                                 $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
      POB 3025
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       New Albany                      OH        43054
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X     Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  Credit Card Charges
                                                                                             Other. Specify________________________________
      
      X      No
            Yes


4.6                                                                                                                                                                2,940.00
                                                                                                                                                                 $____________
      Dixie Finance Company, Inc.                                                                                         0 ___
                                                                                         Last 4 digits of account number ___ 0 ___
                                                                                                                                0 ___
                                                                                                                                   4
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
      2450 Piedmont Road #E-4
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      Atlanta                         GA        30324
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X     Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  unsecured loan
                                                                                             Other. Specify________________________________
      
      X      No
            Yes




  Official Form 106E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 3__ of ___
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                Kristie               Doc 37
                        Jackson Stargell                               Filed 05/03/17 Entered 05/03/17 15:47:31     17-50323-jrs Desc Main
Debtor 1           _______________________________________________________
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 Part 2:          Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                           Total claim


4.7                                                                                                                       5 ___
                                                                                         Last 4 digits of account number ___ 7 ___
                                                                                                                                1 ___
                                                                                                                                   4
      First Franklin Financial Corp.
      _____________________________________________________________                                                                                                1,695.00
                                                                                                                                                                 $____________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           1/5/2016
                                                                                                                               ____________
      7436 Douglas Blvd Ste B
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      Douglasville             GA               30135
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X
             Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  unsecured loan
                                                                                             Other. Specify________________________________
      
      X
             No
            Yes



4.8
      Fortiva Personal Loans                                                             Last 4 digits of account number ___ ___ ___ ___                           3,485.06
                                                                                                                                                                 $____________
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
      Mid America B&T Co POB 105555
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       Atlanta                         GA        30348-5555
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X     Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  unsecured loan
                                                                                             Other. Specify________________________________
      
      X      No
            Yes


4.9                                                                                                                                                                350.00
                                                                                                                                                                 $____________
                                                                                         Last 4 digits of account number ___ ___ ___ ___
      Merrick Bank
      _____________________________________________________________
      Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
      POB 171379
      _____________________________________________________________
      Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
      Salt Lake City                  UT        84117
      _____________________________________________________________
      City                                             State          ZIP Code              Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                                     Disputed
      X     Debtor 1 only
            Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only
                                                                                            Student loans
            At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce that
                                                                                             you did not report as priority claims
            Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                    
                                                                                         X                  Credit Card Charges
                                                                                             Other. Specify________________________________
      
      X      No
            Yes




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Debtor 1            _______________________________________________________
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 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.10                                                                                                                       7 ___
                                                                                          Last 4 digits of account number ___ 8 ___
                                                                                                                                 7 ___
                                                                                                                                    0
       OneMain Financial
       _____________________________________________________________                                                                                                2,800.00
                                                                                                                                                                  $____________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       6801 Colwell Blvd
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Irving                   TX               75039
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  unsecured loan
                                                                                              Other. Specify________________________________
       
       X
              No
             Yes



4.11
       Pinnacle Credit Union                                                              Last 4 digits of account number ___ ___ ___ ___                           852.22
                                                                                                                                                                  $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       536 North Aveneu NE
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Atlanta                         GA        30308
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  unsecured loan
                                                                                              Other. Specify________________________________
       
       X      No
             Yes


4.12                                                                                                                                                                1,629.04
                                                                                                                                                                  $____________
                                                                                          Last 4 digits of account number ___ ___ ___ ___
       Pinnacle CU
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       536 North Aveneu NE
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Atlanta                         GA        30308
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  unsecured loan
                                                                                              Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________
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 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.13                                                                                      Last 4 digits of account number ___ ___ ___ ___
       Premier Bankcard/Charter
       _____________________________________________________________                                                                                                350.00
                                                                                                                                                                  $____________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 2208
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Vacaville                CA               95696
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X
              No
             Yes



4.14
       Republic Finance                                                                                                    5 ___
                                                                                          Last 4 digits of account number ___ 5 ___
                                                                                                                                 7 ___
                                                                                                                                    3                               1,100.00
                                                                                                                                                                  $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       3081 Hwy 5
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Douglasville                    GA        30135-2387
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  unsecured loan
                                                                                              Other. Specify________________________________
       
       X      No
             Yes


4.15                                                                                                                                                                4,039.49
                                                                                                                                                                  $____________
                                                                                          Last 4 digits of account number ___ ___ ___ ___
       Synchrony Bank
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       See Attachment 1
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Miami                           FL        33131
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________
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 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.16                                                                                                                       5 ___
                                                                                          Last 4 digits of account number ___ 3 ___
                                                                                                                                 2 ___
                                                                                                                                    0
       Synchrony Bank
       _____________________________________________________________                                                                                                3,363.55
                                                                                                                                                                  $____________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 965007
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Orlando                  FL               32896
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Brandsmart Card
                                                                                              Other. Specify________________________________
       
       X
              No
             Yes



4.17
       Synchrony Bank                                                                                                      3 ___
                                                                                          Last 4 digits of account number ___ 4 ___
                                                                                                                                 1 ___
                                                                                                                                    9                               2,755.63
                                                                                                                                                                  $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 965007
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Orlando                         FL        32896
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X      No
             Yes


4.18                                                                                                                                                                3,200.00
                                                                                                                                                                  $____________
                                                                                          Last 4 digits of account number ___ ___ ___ ___
       Synchrony Bank / Brandsmart
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 965005
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Orlando                         FL        32896
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X      No
             Yes




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Debtor 1            _______________________________________________________
                    First Name       Middle Name           Last Name   Document      Page 38 of Case
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 Part 2:           Your NONPRIORITY Unsecured Claims ─ Continuation Page


 After listing any entries on this page, number them beginning with 4.5, followed by 4.6, and so forth.                                                            Total claim


4.19                                                                                      Last 4 digits of account number ___ ___ ___ ___
       TD BankUSA/Target
       _____________________________________________________________                                                                                                2,500.00
                                                                                                                                                                  $____________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 673
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Minneapolis              MN               55440
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X
              Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X
              No
             Yes



4.20
       The Home Depot/CBNA                                                                                                 7 ___
                                                                                          Last 4 digits of account number ___ 2 ___
                                                                                                                                 5 ___
                                                                                                                                    3                               940.00
                                                                                                                                                                  $____________
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       POB 6497
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Sioux Falls                     SD        57117
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                             Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    
                                                                                          X                  Credit Card Charges
                                                                                              Other. Specify________________________________
       
       X      No
             Yes


4.21                                                                                                                                                                290,000.00
                                                                                                                                                                  $____________
                                                                                          Last 4 digits of account number ___ ___ ___ ___
       US Dept of Education
       _____________________________________________________________
       Nonpriority Creditor’s Name
                                                                                          When was the debt incurred?           ____________
       Direct Loan Servicing Center
       _____________________________________________________________
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Greenville                      TX        75403
       _____________________________________________________________
       City                                             State          ZIP Code              Contingent
                                                                                             Unliquidated
       Who incurred the debt? Check one.                                                     Disputed
       X     Debtor 1 only
             Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
             Debtor 1 and Debtor 2 only
                                                                                          
                                                                                          X   Student loans
             At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce that
                                                                                              you did not report as priority claims
             Check if this claim is for a community debt
                                                                                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                       Other. Specify________________________________
       
       X      No
             Yes




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            Case  17-50323-jrs Doc 37
              Kristie Jackson Stargell
                                                                Filed 05/03/17 Entered 05/03/17 15:47:31     17-50323-jrs
                                                                                                                          Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name           Last Name   Document      Page 39 of Case
                                                                                         72 number (if known)_____________________________________
Part 3:       List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For
    example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
    2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
    additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

     Basix
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     POB 1009
     _____________________________________________________
                                                                                4.2 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
     _____________________________________________________
                                                                           Last 4 digits of account number ___ ___ ___ ___
     Palatine, IL 60078-1009
     _____________________________________________________
     City                                  State               ZIP Code


     OneMain Financial
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     1012 Memorial Drive
     _____________________________________________________
                                                                                4.10 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                        
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     Ste 8
     _____________________________________________________                 Claims

     Griffin, GA 30223-2096
     _____________________________________________________                                                  7 ___
                                                                           Last 4 digits of account number ___ 8 ___
                                                                                                                  7 ___
                                                                                                                     0
     City                                  State               ZIP Code


     Midland Funding, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     POB 2011
     _____________________________________________________
                                                                                4.15 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     Warren, Michigan 48090
     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code

     Cavalry SPV I, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     500 Summit Lake Drive
     _____________________________________________________
                                                                                4.17 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     Suite 400
     _____________________________________________________
                                                                           Claims

     Valhalla, New York 10595
     _____________________________________________________                                                  3 ___
                                                                           Last 4 digits of account number ___ 4 ___
                                                                                                                  1 ___
                                                                                                                     9
     City                                  State               ZIP Code


     Midland Funding, LLC
     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     3111 Camino Del Rio Nirth
     _____________________________________________________
                                                                                4.17 of (Check one):
                                                                           Line _____                    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                              
                                                                                                        X
                                                                                                          Part 2: Creditors with Nonpriority Unsecured
     Suite 1300
     _____________________________________________________
                                                                           Claims

     San Diego, California 92108
     _____________________________________________________                                                  3 ___
                                                                           Last 4 digits of account number ___ 4 ___
                                                                                                                  1 ___
                                                                                                                     9
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________
                                                                           Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street                                                                               Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________
                                                                           Claims

     _____________________________________________________                 Last 4 digits of account number ___ ___ ___ ___
     City                                  State               ZIP Code


     _____________________________________________________                 On which entry in Part 1 or Part 2 did you list the original creditor?
     Name

     _____________________________________________________                 Line _____ of (Check one):    Part 1: Creditors with Priority Unsecured Claims
     Number         Street
                                                                                                         Part 2: Creditors with Nonpriority Unsecured
     _____________________________________________________                 Claims

     _____________________________________________________
     City                                  State               ZIP Code
                                                                           Last 4 digits of account number ___ ___ ___ ___


  Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                               page9__ of 10
                                                                                                                                                               ___
           Case  17-50323-jrs Doc 37
             Kristie Jackson Stargell
                                                              Filed 05/03/17 Entered 05/03/17 15:47:31     17-50323-jrs
                                                                                                                        Desc Main
Debtor 1       _______________________________________________________
               First Name    Middle Name         Last Name   Document      Page 40 of Case
                                                                                       72 number (if known)_____________________________________
Part 4:    Add the Amounts for Each Type of Unsecured Claim


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159.
    Add the amounts for each type of unsecured claim.




                                                                                         Total claim


                6a. Domestic support obligations                                 6a.
Total claims                                                                             $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                   6b.     $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                                  6c.
                                                                                         $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                      6d.
                                                                                       + $_________________________

                6e. Total. Add lines 6a through 6d.                              6e.
                                                                                         $_________________________



                                                                                         Total claim

                6f. Student loans                                                6f.
Total claims                                                                               290,000.00
                                                                                          $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                       6g.       0.00
                                                                                          $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                                6h.      0.00
                                                                                         $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                      6i.   + $_________________________
                                                                                          41,692.99


                6j. Total. Add lines 6f through 6i.                              6j.
                                                                                           331,692.99
                                                                                          $_________________________




  Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                page10
                                                                                                                                           __ of ___
                                                                                                                                                 10
Case 17-50323-jrs    Doc 37    Filed 05/03/17 Entered 05/03/17 15:47:31   Desc Main
                              Document      Page 41 of 72



                                 Attachment
         Debtor: Kristie Jackson Stargell   Case No: 17-50323-jrs

Attachment 1
         c/o Recovery Management Systems Corp. 25 SE 2nd Ave Ste 1120
               Case 17-50323-jrs               Doc 37        Filed 05/03/17 Entered 05/03/17 15:47:31                               Desc Main
                                                            Document      Page 42 of 72

 Fill in this information to identify your case:

 Debtor               Kristie Jackson Stargell
                      __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


                                        Northern District of Georgia
 United States Bankruptcy Court for the:______________________________________

 Case number           17-50323-jrs
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      X
           No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.

      Person or company with whom you have the contract or lease                               State what the contract or lease is for

2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Number     Street

      _____________________________________________________________________
      City                         State   ZIP Code



Official Form 106G                             Schedule G: Executory Contracts and Unexpired Leases                                                      1
                                                                                                                                              page 1 of ___
                Case 17-50323-jrs                     Doc 37               Filed 05/03/17 Entered 05/03/17 15:47:31                  Desc Main
                                                                          Document      Page 43 of 72
 Fill in this information to identify your case:

 Debtor 1          Kristie Jackson Stargell
                   __________________________________________________________________
                      First Name                    Middle Name                 Last Name

 Debtor 2             ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                        Northern District of Georgia
 United States Bankruptcy Court for the:_______________________________________

 Case number          17-50323-jrs
                      ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      X    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
      
      X
           No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                No
                Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number              Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________                  Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number             Street                                                                         Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

Official Form 106H                                                           Schedule H: Your Codebtors                                                     1
                                                                                                                                                 page 1 of ___
               Case 17-50323-jrs             Doc 37        Filed 05/03/17 Entered 05/03/17 15:47:31                              Desc Main
                                                          Document      Page 44 of 72
 Fill in this information to identify your case:


 Debtor 1            Kristie Jackson Stargell
                    ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


                                          Northern District of Georgia
 United States Bankruptcy Court for the: ___________________________________________

 Case number          17-50323-jrs
                     ___________________________________________                                   Check if this is:
  (If known)
                                                                                                    An amended filing
                                                                                                    A supplement showing post-petition
                                                                                                       chapter 13 income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Schedule I: Your Income                                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


  Part 1:           Describe Employment


 1. Fill in your employment
     information.                                                         Debtor 1                                     Debtor 2 or non-filing spouse

     If you have more than one job,
     attach a separate page with
     information about additional         Employment status            
                                                                       X Employed                                      Employed
     employers.                                                         Not employed                                 FillNot
                                                                                                                            outemployed
                                                                                                                               this information:
     Include part-time, seasonal, or
     self-employed work.
                                          Occupation                  Teacher
                                                                      __________________________________          __________________________________
     Occupation may Include student
     or homemaker, if it applies.
                                          Employer’s name            Atlanta Public Schools
                                                                     __________________________________           __________________________________


                                          Employer’s address         130 Trinity Avenue SW
                                                                   ________________________________________     ________________________________________
                                                                      Number Street                              Number    Street

                                                                   ________________________________________     ________________________________________

                                                                   ________________________________________     ________________________________________

                                                                     Atlanta, GA 30303
                                                                   ________________________________________     ________________________________________
                                                                      City             State ZIP Code             City                State ZIP Code

                                          How long employed there?         _______
                                                                           17 years                                _______

  Part 2:           Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
     below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1        For Debtor 2 or
                                                                                                                   non-filing spouse
  2. List monthly gross wages, salary, and commissions (before all payroll
       deductions). If not paid monthly, calculate what the monthly wage would be.      2.      6,561.52                 0.00
                                                                                              $___________             $____________

  3. Estimate and list monthly overtime pay.                                            3.   + $___________
                                                                                                 0.00             +      0.00
                                                                                                                       $____________


  4. Calculate gross income. Add line 2 + line 3.                                       4.     6,561.52
                                                                                              $__________                0.00
                                                                                                                       $____________




Official Form 106I                                             Schedule I: Your Income                                                             page 1
             Case 17-50323-jrs                          Doc 37             Filed 05/03/17 Entered 05/03/17 15:47:31                                         Desc Main
                                                                          Document      Page 45 of 72
Debtor 1          Kristie Jackson Stargell
                  _______________________________________________________                                                                          17-50323-jrs
                                                                                                                            Case number (if known)_____________________________________
                  First Name        Middle Name               Last Name



                                                                                                                           For Debtor 1         For Debtor 2 or
                                                                                                                                                non-filing spouse

     Copy line 4 here ............................................................................................  4.       6,561.52
                                                                                                                            $___________              0.00
                                                                                                                                                    $_____________

  5. List all payroll deductions:

      5a. Tax, Medicare, and Social Security deductions                                                            5a.       410.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5b. Mandatory contributions for retirement plans                                                             5b.      387.97
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5c. Voluntary contributions for retirement plans                                                             5c.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5d. Required repayments of retirement fund loans                                                             5d.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5e. Insurance                                                                                                5e.      358.47
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      5f. Domestic support obligations                                                                             5f.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      5g. Union dues                                                                                               5g.      0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
                                     None
      5h. Other deductions. Specify: __________________________________                                            5h.    + $____________
                                                                                                                              0.00              +    0.00
                                                                                                                                                    $_____________

  6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                    6.       1,156.44
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

  7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.       5,405.08
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________


  8. List all other income regularly received:

      8a. Net income from rental property and from operating a business,
          profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total                                                0.00                     0.00
                                                                                                                           $____________            $_____________
            monthly net income.                                                                                    8a.
      8b. Interest and dividends                                                                                   8b.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8c. Family support payments that you, a non-filing spouse, or a dependent
          regularly receive
            Include alimony, spousal support, child support, maintenance, divorce                                            0.00                     0.00
                                                                                                                           $____________            $_____________
            settlement, and property settlement.                                                                   8c.
      8d. Unemployment compensation                                                                                8d.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8e. Social Security                                                                                          8e.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________
      8f. Other government assistance that you regularly receive
          Include cash assistance and the value (if known) of any non-cash assistance
          that you receive, such as food stamps (benefits under the Supplemental                                           $____________              0.00
                                                                                                                                                    $_____________
          Nutrition Assistance Program) or housing subsidies.
          Specify: ___________________________________________________ 8f.

      8g. Pension or retirement income                                                                             8g.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

      8h. Other monthly income. Specify: _______________________________                                           8h.    + $____________        + $_____________
                                                                                                                                                    0.00

  9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.       0.00
                                                                                                                           $____________              0.00
                                                                                                                                                    $_____________

 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.
                                                                                                                             5,405.08
                                                                                                                           $___________     +         0.00
                                                                                                                                                    $_____________       =     5,405.08
                                                                                                                                                                             $_____________

 11. State all other regular contributions to the expenses that you list in Schedule J.
     Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
     friends or relatives.
     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
              None
     Specify: _______________________________________________________________________________                                                                      11. + $_____________
                                                                                                                                                                          0.00

 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
     Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                            12.         5,405.08
                                                                                                                                                                             $_____________
                                                                                                                                                                             Combined
                                                                                                                                                                             monthly income
  13. Do you expect an increase or decrease within the year after you file this form?
      
      X
            No.
           Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                    page 2
               Case 17-50323-jrs              Doc 37         Filed 05/03/17 Entered 05/03/17 15:47:31                                  Desc Main
                                                            Document      Page 46 of 72
 Fill in this information to identify your case:

 Debtor 1          Kristie Jackson Stargell
                   __________________________________________________________________
                     First Name              Middle Name              Last Name                       Check if this is:
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name              Last Name
                                                                                                       An amended filing
                                                                                                       A supplement showing post-petition chapter 13
                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________                            expenses as of the following date:
                                                                                                           ________________
 Case number         17-50323-jrs
                     ___________________________________________                                           MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:             Describe Your Household

1. Is this a joint case?

   
   X     No. Go to line 2.
        Yes. Does Debtor 2 live in a separate household?

                 
                 X   No
                    Yes. Debtor 2 must file Official Forms 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      No                                 Dependent’s relationship to                 Dependent’s   Does dependent live
    Do not list Debtor 1 and                
                                            X    Yes. Fill out this information for Debtor 1 or Debtor 2                        age           with you?
    Debtor 2.                                    each dependent .........................
    Do not state the dependents’                                                    Daughter                                    13
                                                                                                                                                  No
                                                                                    _________________________                   ________
    names.                                                                                                                                    
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    Daughter
                                                                                    _________________________                   10
                                                                                                                                ________          No
                                                                                                                                              
                                                                                                                                              X
                                                                                                                                                   Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

                                                                                    _________________________                   ________          No
                                                                                                                                                  Yes

3. Do your expenses include
    expenses of people other than
                                            
                                            X    No
    yourself and your dependents?               Yes

Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included it on Schedule I: Your Income (Official Form B 106I.)                                           Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                   1,684.00
                                                                                                                                  $_____________________
     any rent for the ground or lot.                                                                                      4.

     If not included in line 4:
     4a.       Real estate taxes                                                                                          4a.      0.00
                                                                                                                                  $_____________________
     4b.       Property, homeowner’s, or renter’s insurance                                                               4b.      0.00
                                                                                                                                  $_____________________
     4c.       Home maintenance, repair, and upkeep expenses                                                              4c.      20.00
                                                                                                                                  $_____________________
     4d.       Homeowner’s association or condominium dues                                                                4d.      37.50
                                                                                                                                  $_____________________

 Official Form 106J                                           Schedule J: Your Expenses                                                             page 1
            Case 17-50323-jrs                Doc 37            Filed 05/03/17 Entered 05/03/17 15:47:31                    Desc Main
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Debtor 1          Kristie Jackson Stargell
                 _______________________________________________________                                         17-50323-jrs
                                                                                           Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




                                                                                                                       Your expenses

                                                                                                                        0.00
                                                                                                                      $_____________________
 5. Additional mortgage payments for your residence, such as home equity loans                                 5.


 6. Utilities:

      6a.   Electricity, heat, natural gas                                                                     6a.      375.00
                                                                                                                      $_____________________
      6b.   Water, sewer, garbage collection                                                                   6b.      90.08
                                                                                                                      $_____________________
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                     6c.      410.50
                                                                                                                      $_____________________
      6d.                   Alarm
            Other. Specify: _______________________________________________                                    6d.      26.00
                                                                                                                      $_____________________

 7. Food and housekeeping supplies                                                                             7.       600.00
                                                                                                                      $_____________________

 8. Childcare and children’s education costs                                                                   8.       0.00
                                                                                                                      $_____________________
 9. Clothing, laundry, and dry cleaning                                                                        9.       80.00
                                                                                                                      $_____________________
10.   Personal care products and services                                                                      10.      80.00
                                                                                                                      $_____________________
11.   Medical and dental expenses                                                                              11.      80.00
                                                                                                                      $_____________________

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                        400.00
                                                                                                                      $_____________________
      Do not include car payments.                                                                             12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                       13.      0.00
                                                                                                                      $_____________________
14.   Charitable contributions and religious donations                                                         14.      100.00
                                                                                                                      $_____________________
                                                                                                                                                    16.
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                      15a.     0.00
                                                                                                                      $_____________________
      15b. Health insurance                                                                                    15b.     0.00
                                                                                                                      $_____________________
      15c. Vehicle insurance                                                                                   15c.     242.00
                                                                                                                      $_____________________
      15d. Other insurance. Specify:_______________________________________                                    15d.     0.00
                                                                                                                      $_____________________

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                        0.00
                                                                                                                      $_____________________
      Specify: ________________________________________________________                                        16.

17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                                          17a.     498.00
                                                                                                                      $_____________________

      17b. Car payments for Vehicle 2                                                                          17b.     250.00
                                                                                                                      $_____________________

                           SL
      17c. Other. Specify:_______________________________________________                                      17c.    65.00
                                                                                                                      $_____________________

                           One Main
      17d. Other. Specify:_______________________________________________                                      17d.    150.00
                                                                                                                      $_____________________
                                                                                                                         See Attachment 1
18.   Your payments of alimony, maintenance, and support that you did not report as deducted from
      your pay on line 5, Schedule I, Your Income (Official Form 106I).                                         18.     0.00
                                                                                                                      $_____________________

19.   Other payments you make to support others who do not live with you.
      Specify:_______________________________________________________                                           19.    0.00
                                                                                                                      $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                         20a.    0.00
                                                                                                                      $_____________________

      20b. Real estate taxes                                                                                   20b.    0.00
                                                                                                                      $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                        20c.    0.00
                                                                                                                      $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                            20d.    0.00
                                                                                                                      $_____________________

      20e. Homeowner’s association or condominium dues                                                         20e.    0.00
                                                                                                                      $_____________________



  Official Form 106J                                           Schedule J: Your Expenses                                                   page 2
             Case 17-50323-jrs               Doc 37           Filed 05/03/17 Entered 05/03/17 15:47:31                        Desc Main
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Debtor 1         Kristie Jackson Stargell
                 _______________________________________________________                                            17-50323-jrs
                                                                                              Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




21.    Other. Specify: _________________________________________________                                          21.   +$_____________________
                                                                                                                           0.00


22.    Calculate your monthly expenses.                                                                                   5,388.08
                                                                                                                         $_____________________
       22a. Add lines 4 through 21.
                                                                                                                         $_____________________
       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               5,388.08
                                                                                                                         $_____________________
       22c. Add line 22a and 22b. The result is your monthly expenses.                                            22.




23. Calculate your monthly net income.
                                                                                                                           5,405.08
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22 above.                                                      23b.   – $_____________________
                                                                                                                           5,388.08

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                            17.00
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      
      X
          No.
         Yes.      Explain here:




  Official Form 106J                                          Schedule J: Your Expenses                                                       page 3
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                        Attachment
 Debtor: Kristie Jackson Stargell  Case No: 17-50323-jrs
Attachment 1
    Type of Installment or Lease: WS Badcock
    Amount: $100.00

    Type of Installment or Lease: Rooms To Go
    Amount: $100.00
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 Fill in this information to identify your case:

 Debtor 1          Kristie                 Jackson               Stargell
                   __________________________________________________________________
                     First Name                      Middle Name                     Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                     Last Name


                                         Northern District of Georgia
 United States Bankruptcy Court for the: ______________________________________

 Case number         17-50323-jrs
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:        Summarize Your Assets


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................
                                                                                                                                                                            301,831.00
                                                                                                                                                                          $ ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................              34,204.39
                                                                                                                                                                          $ ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                            336,035.39
                                                                                                                                                                          $ ________________



Part 2:        Summarize Your Liabilities



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............
                                                                                                                                                                            260,352.07
                                                                                                                                                                          $ ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ..........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ......................................
                                                                                                                                                                      +     331,692.99
                                                                                                                                                                          $ ________________


                                                                                                                                     Your total liabilities                 592,045.06
                                                                                                                                                                          $ ________________



Part 3:        Summarize Your Income and Expenses


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................
                                                                                                                                                                            5,405.08
                                                                                                                                                                          $ ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22, Column A, of Schedule J..................................................................................                      5,388.08
                                                                                                                                                                          $ ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
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Debtor 1    Kristie                Jackson               Stargell
                _______________________________________________________                                                   17-50323-jrs
                                                                                                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Part 4:        Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
    
    X
      Yes


7. What kind of debt do you have?

    
    X
      Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-10 for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                 6,561.52
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                           Total claim


     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)
                                                                                                            0.00
                                                                                                           $_____________________

    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)
                                                                                                            0.00
                                                                                                           $_____________________

    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                            0.00
                                                                                                           $_____________________


    9d. Student loans. (Copy line 6f.)
                                                                                                            0.00
                                                                                                           $_____________________

    9e. Obligations arising out of a separation agreement or divorce that you did not report as
        priority claims. (Copy line 6g.)                                                                    0.00
                                                                                                           $_____________________


    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                 0.00
                                                                                                        + $_____________________


    9g. Total. Add lines 9a through 9f.                                                                      0.00
                                                                                                           $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                      page 2 of 2
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Fill in this information to identify your case:

Debtor 1          Kristie Jackson Stargell
                  __________________________________________________________________
                    First Name                 Middle Name              Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name              Last Name


                                                Northern District Of Georgia
United States Bankruptcy Court for the: _______________________________________

Case number         17-50323-jrs
                    ___________________________________________
(If known)
                                                                                                                                               Check if this is an
                                                                                                                                                  amended filing



  Official Form 106Dec
  Declaration About an Individual Debtor’s Schedules                                                                                                          12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Below



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       X
         No
       Yes.          Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




         /s/Kristie Jackson Stargell
          ______________________________________________             
                                                                      _____________________________
         Signature of Debtor 1                                             Signature of Debtor 2


              05/03/2017
         Date _________________                                            Date _________________
                MM /    DD       /   YYYY                                           MM / DD /   YYYY




  Official Form 106Dec                                         Declaration About an Individual Debtor’s Schedules                                         page 1
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B 203
(12/94)



                                            UNITED STATES BANKRUPTCY COURT
                                                             Northern District of Georgia


In re          Kristie Jackson Stargell                                                                      Case No.           17-50323-jrs


Debtor                                                                                                       Chapter            7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.    Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named
      debtor(s) and that compensation paid to me within one year before the filing of the petition in bankruptcy, or
      agreed to be paid to me, for services rendered or to be rendered on behalf of the debtor(s) in contemplation of or
      in connection with the bankruptcy case is as follows:

For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                 $   665.00
Prior to the filing of this statement I have received . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                   $   665.00
Balance Due . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .   $   0.00

2.    The source of compensation paid to me was:
           Debtor Other (specify)

3.    The source of compensation to be paid to me is:
           Debtor Other (specify)

4.     I have not agreed to share the above-disclosed compensation with any other person unless they are
          members and associates of my law firm.

       I have agreed to share the above-disclosed compensation with a other person or persons who are not
          members or associates of my law firm. A copy of the agreement, together with a list of the names of the
          people sharing in the compensation, is attached.

5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case,
including:

      a)     Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file
             a petition in bankruptcy;

      b)     Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c)     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned
             hearings thereof;

      d)     Representation of the debtor in adversary proceedings and other contested bankruptcy matters;

      e)     [Other provisions as needed]
             None.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:
       None.
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                 DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR (Continued)



                                                 CERTIFICATION

           I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
  me for representation of the debtor(s) in this bankruptcy proceeding.

           I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.


                  May 3, 2017                                            /s/A. Allen Hammond
                     Date                                                  A. Allen Hammond
                                                                         Signature of Attorney

                                                                     Hammond & Hammond, P.C.
                                                                         Name of law firm
                  Case 17-50323-jrs                 Doc 37        Filed 05/03/17 Entered 05/03/17 15:47:31                               Desc Main
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Fill in this information to identify your case:

Debtor 1           Kristie Jackson Stargell
                   __________________________________________________________________
                    First Name                 Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name                 Middle Name                Last Name


                                                Northern District Of Georgia
United States Bankruptcy Court for the: _______________________________________

Case number         17-50323-jrs
                    ___________________________________________                                                                                Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                             12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

     Part 1:         List Your Creditors Who Hold Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral                What do you intend to do with the property that    Did you claim the property
                                                                                       secures a debt?                                    as exempt on Schedule C?

          Creditor’s                                                                   Surrender the property.                           
                                                                                                                                          X No
          name:      Caliber Home Loans, Inc.
                                                                                       Retain the property and redeem it.                 Yes
          Description of
          property                                                                     Retain the property and enter into a
                                                                                      X


          securing debt: Residence                                                         Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                           ______________________________________

   
          Creditor’s                                                                   Surrender the property.                           
                                                                                                                                          X
                                                                                                                                            No
          name:      Capital One Auto Finance
                                                                                       Retain the property and redeem it.                 Yes
          Description of
          property                                                                     Retain the property and enter into a
                                                                                       X


          securing debt: 2010 Mercedes-Benz GLK350 with 73250 miles.                       Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                           ______________________________________
   
          Creditor’s                                                                   Surrender the property.                           
                                                                                                                                          X
                                                                                                                                            No
          name:      Pinnacle Credit Union
                                                                                       Retain the property and redeem it.                 Yes
          Description of
          property                                                                     Retain the property and enter into a
                                                                                       X


          securing debt: 2004 Lexus RX 330 with 284675 miles.                              Reaffirmation Agreement.
                                                                                       Retain the property and [explain]: __________
                                                                                           ______________________________________

          Creditor’s
                     Rooms To Go
                                                                                       Surrender the property.                           
                                                                                                                                          X
                                                                                                                                            No
          name:
                                                                                       Retain the property and redeem it.                 Yes
          Description of
          property                                                                     Retain the property and enter into a
                                                                                      X

                         HHG                                                               Reaffirmation Agreement.
          securing debt:
                                                                                       Retain the property and [explain]: __________
                                                                                           ______________________________________

  Official Form 108                              Statement of Intention for Individuals Filing Under Chapter 7 See Attachment 1                   page 1
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Your name      Kristie Jackson Stargell
               ______________________________________________________                                                   17-50323-jrs
                                                                                                 Case number (If known)_____________________________________
               First Name           Middle Name      Last Name




  Part 2:          List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

      Describe your unexpired personal property leases                                                                    Will the lease be assumed?

     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
     Description of leased                                                                                                Yes
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                      No
                                                                                                                          Yes
     Description of leased
     property:


     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:
 
     Lessor’s name:                                                                                                     No
                                                                                                                         Yes
     Description of leased
     property:




 Part 3:           Sign Below



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



      /s/Kristie Jackson Stargell
      ___________________________________________                    ___________________________________________
     Signature of Debtor 1                                             Signature of Debtor 2

          05/03/2017
     Date _________________                                            Date _________________
            MM /    DD   /   YYYY                                           MM /   DD /   YYYY




 Official Form 108                                Statement of Intention for Individuals Filing Under Chapter 7                           page 2
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                                 Attachment
         Debtor: Kristie Jackson Stargell   Case No: 17-50323-jrs

Attachment 1: Additional Secured Claims
     Creditor's name: W. S. Badcock Corp.
     Description of property securing debt: HHG
     Property will be: Retained and Reaffirmed

    Creditor's name: Stonybrook HOA
    Description of property securing debt: Residence
    Property will be: Retained and Reaffirmed
              Case 17-50323-jrs               Doc 37       Filed 05/03/17 Entered 05/03/17 15:47:31                                  Desc Main
 Fill in this information to identify your case:
                                                          Document      Page 58 of 72
                                                                                                     Check one box only as directed in this form and in
                                                                                                     Form 122A-1Supp:
 Debtor 1          Kristie Jackson Stargell
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                        1. There is no presumption of abuse.
 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                      
                                                                                                     X
                                                                                                         2. The calculation to determine if a presumption of
                                                                                                            abuse applies will be made under Chapter 7
                                             NORTHERN DISTRICT OF GEORGIA
 United States Bankruptcy Court for the: ____________________________________________                       Means Test Calculation (Official Form 122A–2).
 Case number         17-50323-jrs
                     ___________________________________________                                        3. The Means Test does not apply now because of
 (If known)                                                                                                 qualified military service but it could apply later.


                                                                                                      Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
     
     X Not married. Fill out Column A, lines 2-11.

     Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                     Column A              Column B
                                                                                                     Debtor 1              Debtor 2 or
                                                                                                                           non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                     6,561.52
                                                                                                      $_________            $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                            $_________
                                                                                                            0.00            $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                0.00
                                                                                                      $_________            $__________

 5. Net income from operating a business, profession,
                                                                   Debtor 1        Debtor 2
    or farm
    Gross receipts (before all deductions)                               0.00
                                                                      $______    $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______ _
                                                                         0.00
                                                                                              Copy
     Net monthly income from a business, profession, or farm             0.00
                                                                      $______       $______ here     $_________
                                                                                                            0.00            $__________

 6. Net income from rental and other real property                 Debtor 1        Debtor 2
    Gross receipts (before all deductions)                              0.00
                                                                    $______          $______
                                                                                   _         _
     Ordinary and necessary operating expenses                    –      0.00
                                                                      $______     –_ $______ _
                                                                                              Copy
     Net monthly income from rental or other real property               0.00
                                                                      $______       $______ here           0.00
                                                                                                      $_________            $__________
 7. Interest, dividends, and royalties                                                                $_________
                                                                                                            0.00            $__________



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                     page 1
                Case 17-50323-jrs                                     Doc 37                 Filed 05/03/17 Entered 05/03/17 15:47:31                                      Desc Main
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Debtor 1             Kristie Jackson Stargell
                     _______________________________________________________                                                                          17-50323-jrs
                                                                                                                                Case number (if known)_____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                   Column A                  Column B
                                                                                                                                   Debtor 1                  Debtor 2 or
                                                                                                                                                             non-filing spouse
 8. Unemployment compensation                                                                                                        $__________
                                                                                                                                            0.00                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................         0.00
                                                                                                          $______________
           For your spouse ....................................................................           $______________
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                                  0.00
                                                                                                                                     $__________                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                       $_________                 $___________
        ______________________________________                                                                                       $_________                 $___________
        Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                          0.00               + $___________
 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                 6,561.52
                                                                                                                                     $_________
                                                                                                                                                         +      $___________
                                                                                                                                                                                    =       6,561.52
                                                                                                                                                                                        $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here          6,561.52
                                                                                                                                                                                    $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.      78,738.24
                                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.
                                                                                                          Georgia

     Fill in the number of people in your household.
                                                                                                          3
     Fill in the median family income for your state and size of household. ................................................................................................. 13.      61,705.00
                                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a.  Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b. 
          X
            Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                          /s/Kristie Jackson Stargell
                          __________________________________________________________                                         ______________________________________
                          Signature of Debtor 1                                                                               Signature of Debtor 2

                               05/03/2017
                         Date _________________                                                                               Date _________________
                              MM / DD / YYYY                                                                                       MM / DD / YYYY
                           If you checked line 14a, do NOT fill out or file Form 122A–2.
                           If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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  Fill in this information to identify your case:                                                                                              Check the appropriate box as directed in
                                                                                                                                               lines 40 or 42:

  Debtor 1          Kristie Jackson Stargell
                    _________________________________________________________________                                                          According to the calculations required by
                      First Name                            Middle Name                         Last Name
                                                                                                                                               this Statement:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name                            Middle Name                         Last Name                                      
                                                                                                                                               X
                                                                                                                                                    1. There is no presumption of abuse.
                                              NORTHERN DISTRICT OF GEORGIA
  United States Bankruptcy Court for the: ____________________________________________                                                             2. There is a presumption of abuse.

  Case number         17-50323-jrs
                      ___________________________________________
   (If known)
                                                                                                                                                Check if this is an amended filing



Official Form 122A–2
Chapter 7 Means Test Calculation                                                                                                                                                        04/16

To fill out this form, you will need your completed copy of Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space
is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional
pages, write your name and case number (if known).


Part 1:           Determine Your Adjusted Income



1. Copy your total current monthly income. ..................................................................Copy line 11 from Official Form 122A-1 here ...........                 6,561.52
                                                                                                                                                                                   $_________

2. Did you fill out Column B in Part 1 of Form 122A–1?

     X
          No. Fill in $0 for the total on line 3.
         Yes. Is your spouse filing with you?

                No. Go to line 3.
                Yes. Fill in $0 for the total on line 3.

3. Adjust your current monthly income by subtracting any part of your spouse’s income not used to pay for the
   household expenses of you or your dependents. Follow these steps:

    On line 11, Column B of Form 122A–1, was any amount of the income you reported for your spouse NOT
    regularly used for the household expenses of you or your dependents?

     No. Fill in 0 for the total on line 3.
    Yes. Fill in the information below:

                State each purpose for which the income was used                                                    Fill in the amount you
                For example, the income is used to pay your spouse’s tax debt or to support                         are subtracting from
                people other than you or your dependents                                                            your spouse’s income


            ___________________________________________________                                                       $______________


            ___________________________________________________                                                       $______________

            ___________________________________________________                                                     + $______________
            Total. ..............................................................................................                0.00
                                                                                                                      $______________
                                                                                                                                             Copy total here ................   ─ $_________
                                                                                                                                                                                         0.00



4. Adjust your current monthly income. Subtract the total on line 3 from line 1.                                                                                                     6,561.52
                                                                                                                                                                                  $_________




Official Form 122A–2                                                                Chapter 7 Means Test Calculation                                                                page 1
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Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                                                              17-50323-jrs
                                                                                                                               Case number (if known)_____________________________________
                First Name         Middle Name               Last Name



Part 2:        Calculate Your Deductions from Your Income


  The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to
  answer the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for
  this form. This information may also be available at the bankruptcy clerk’s office.

  Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your
  actual expenses if they are higher than the standards. Do not deduct any amounts that you subtracted from your spouse’s income in line 3
  and do not deduct any operating expenses that you subtracted from income in lines 5 and 6 of Form 122A–1.

  If your expenses differ from month to month, enter the average expense.

  Whenever this part of the form refers to you, it means both you and your spouse if Column B of Form 122A–1 is filled in.



   5. The number of people used in determining your deductions from income
       Fill in the number of people who could be claimed as exemptions on your federal income tax return,                                                3
       plus the number of any additional dependents whom you support. This number may be different from
       the number of people in your household.


   National Standards                 You must use the IRS National Standards to answer the questions in lines 6-7.


   6. Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National Standards, fill
      in the dollar amount for food, clothing, and other items.                                                                                                                 1,249.00
                                                                                                                                                                              $________



   7. Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards,
      fill in the dollar amount for out-of-pocket health care. The number of people is split into two categoriespeople who are
      under 65 and people who are 65 or olderbecause older people have a higher IRS allowance for health care costs. If your
      actual expenses are higher than this IRS amount, you may deduct the additional amount on line 22.


       People who are under 65 years of age


       7a.    Out-of-pocket health care allowance per person
                                                                                            54.00
                                                                                    $____________


       7b.    Number of people who are under 65
                                                                                           3
                                                                                    X ______

       7c.    Subtotal. Multiply line 7a by line 7b.                                       162.00
                                                                                    $____________              Copy here                   162.00
                                                                                                                                      $___________




           People who are 65 years of age or older


       7d.    Out-of-pocket health care allowance per person
                                                                                           130.00
                                                                                    $____________

       7e.    Number of people who are 65 or older                                         0
                                                                                    X ______


       7f.    Subtotal. Multiply line 7d by line 7e.                                         0.00
                                                                                    $____________              Copy here
                                                                                                                                   + $___________
                                                                                                                                              0.00



       7g.    Total. Add lines 7c and 7f....................................................................................          $___________
                                                                                                                                            162.00        Copy total here
                                                                                                                                                                              $________
                                                                                                                                                                                  162.00




  Official Form 122A–2                                                     Chapter 7 Means Test Calculation                                                                    page 2
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Debtor 1          Kristie Jackson Stargell
                  _______________________________________________________                                                                           17-50323-jrs
                                                                                                                              Case number (if known)_____________________________________
                  First Name         Middle Name               Last Name




   Local Standards                  You must use the IRS Local Standards to answer the questions in lines 8-15.

   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
    Housing and utilities – Insurance and operating expenses
    Housing and utilities – Mortgage or rent expenses

   To answer the questions in lines 8-9, use the U.S. Trustee Program chart.
   To find the chart, go online using the link specified in the separate instructions for this form.
   This chart may also be available at the bankruptcy clerk’s office.


   8. Housing and utilities – Insurance and operating expenses: Using the number of people you entered in line 5, fill in the
      dollar amount listed for your county for insurance and operating expenses. .......................................................................                           593.00
                                                                                                                                                                            $____________


   9. Housing and utilities – Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount listed
               for your county for mortgage or rent expenses.....................................................................                 $___________
                                                                                                                                                       1,320.00


           9b. Total average monthly payment for all mortgages and other debts secured by your home.



               To calculate the total average monthly payment, add all amounts that are
               contractually due to each secured creditor in the 60 months after you file for
               bankruptcy. Then divide by 60.

                 Name of the creditor                                                                 Average monthly
                                                                                                      payment


                 ___________________________________
                 Caliber Homes                                                                          1,684.00
                                                                                                      $____________

                 ___________________________________
                 HOA                                                                                    35.00
                                                                                                      $____________


                 ___________________________________ +                                               $____________

                                                                                                                                  Copy                            Repeat this
                                              Total average monthly payment                                 1,719.00
                                                                                                      $____________
                                                                                                                                  here
                                                                                                                                                ─ $___________
                                                                                                                                                       1,719.00   amount on
                                                                                                                                                                  line 33a.


       9c.      Net mortgage or rent expense.
                Subtract line 9b (total average monthly payment) from line 9a (mortgage or                                                                0.00 Copy
                                                                                                                                                  $___________                      0.00
                                                                                                                                                                            $___________
                rent expense). If this amount is less than $0, enter $0. ....................................................................                     here




   10. If you claim that the U.S. Trustee Program’s division of the IRS Local Standard for housing is incorrect and affects                                                 $___________
                                                                                                                                                                                    0.00
       the calculation of your monthly expenses, fill in any additional amount you claim.

           Explain        _________________________________________________________________
           why:
                          _________________________________________________________________

   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.
        0. Go to line 14.
       1. Go to line 12.
       2 or more. Go to line 12.
           X




   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                                        462.00
                                                                                                                                                                            $___________




  Official Form 122A–2                                                       Chapter 7 Means Test Calculation                                                                   page 3
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Debtor 1       Kristie Jackson Stargell
               _______________________________________________________                                                                  17-50323-jrs
                                                                                                                 Case number (if known)_____________________________________
               First Name         Middle Name           Last Name




   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense
       for each vehicle below. You may not claim the expense if you do not make any loan or lease payments on the vehicle.
       In addition, you may not claim the expense for more than two vehicles.


       Vehicle 1            Describe Vehicle 1:     2010 Mercedes-Benz
                                                    _______________________________________________________________
                                                    _______________________________________________________________


       13a.    Ownership or leasing costs using IRS Local Standard. .................................................                 471.00
                                                                                                                                $___________

       13b.    Average monthly payment for all debts secured by Vehicle 1.
               Do not include costs for leased vehicles.
               To calculate the average monthly payment here and on line 13e, add all
               amounts that are contractually due to each secured creditor in the 60 months
               after you filed for bankruptcy. Then divide by 60.

                    Name of each creditor for Vehicle 1                         Average monthly
                                                                                payment

                 COAF
                 _____________________________________                                    383.00
                                                                                   $____________

                 _____________________________________                         +   $____________

                                                                                                              Copy                                Repeat this
                                    Total average monthly payment                         383.00
                                                                                   $____________
                                                                                                              here
                                                                                                                             ─ $____________
                                                                                                                                       383.00     amount on
                                                                                                                                                  line 33b.

                                                                                                                                                 Copy net
       13c. Net Vehicle 1 ownership or lease expense                                                                                             Vehicle 1
              Subtract line 13b from line 13a. If this amount is less than $0, enter $0. ..............................        $____________
                                                                                                                                        88.00    expense
                                                                                                                                                                     88.00
                                                                                                                                                 here .....  $___________



       Vehicle 2            Describe Vehicle 2:     2004 Lexus
                                                    _______________________________________________________________
                                                    _______________________________________________________________


       13d.    Ownership or leasing costs using IRS Local Standard. ................................................                   471.00
                                                                                                                               $____________

       13e.    Average monthly payment for all debts secured by Vehicle 2.
               Do not include costs for leased vehicles.

                    Name of each creditor for Vehicle 2                         Average monthly
                                                                                payment


                 Pinnacle CU
                 _____________________________________                                     30.00
                                                                                   $____________



                 _____________________________________                         +   $____________


                                                                                                                Copy                              Repeat this
                                     Total average monthly payment                         30.00
                                                                                   $____________
                                                                                                                here
                                                                                                                             ─ $____________
                                                                                                                                        30.00     amount on
                                                                                                                                                  line 33c.

                                                                                                                                                 Copy net
       13f. Net Vehicle 2 ownership or lease expense                                                                                             Vehicle 2
              Subtract line 13e from 13d. If this amount is less than $0, enter $0. ......................................             441.00
                                                                                                                               $____________     expense
                                                                                                                                                 here ...            441.00
                                                                                                                                                                $___________


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                             $___________

   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may also
       deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may not claim
       more than the IRS Local Standard for Public Transportation.                                                                                                      0.00
                                                                                                                                                                $___________


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Debtor 1      Kristie Jackson Stargell
              _______________________________________________________                                                  17-50323-jrs
                                                                                                 Case number (if known)_____________________________________
              First Name    Middle Name            Last Name




   Other Necessary Expenses               In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                          the following IRS categories.


   16. Taxes: The total monthly amount that you will actually owe for federal, state and local taxes, such as income taxes, self-
       employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from your                    $___________
                                                                                                                                                   410.00
       pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12 and
       subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.

   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement contributions,
       union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.                        387.97
                                                                                                                                             $___________


   18. Life insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are filing
       together, include payments that you make for your spouse’s term life insurance. Do not include premiums for life
       insurance on your dependents, for a non-filing spouse’s life insurance, or for any form of life insurance other than term.                   78.00
                                                                                                                                             $___________


   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
                                                                                                                                                     0.00
                                                                                                                                             $___________
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.

   20. Education: The total monthly amount that you pay for education that is either required:
        as a condition for your job, or
        for your physically or mentally challenged dependent child if no public education is available for similar services.                        0.00
                                                                                                                                             $___________


   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                                     0.00
                                                                                                                                             $___________


   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care that
       is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid by a
       health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                                    0.00
                                                                                                                                             $___________


   23. Optional telephones and telephone services: The total monthly amount that you pay for telecommunication services for
       you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell phone
       service, to the extent necessary for your health and welfare or that of your dependents or for the production of income, if it       + $___________
                                                                                                                                                      0.00
       is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122A-1, or any amount you previously deducted.

   24. Add all of the expenses allowed under the IRS expense allowances.                                                                      $____________
                                                                                                                                                    3,870.97
       Add lines 6 through 23.




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Debtor 1       _______________________________________________________                        Case number (if known)_____________________________________
               First Name     Middle Name       Last Name




   Additional Expense Deductions            These are additional deductions allowed by the Means Test.
                                            Note: Do not include any expense allowances listed in lines 6-24.


   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or your
       dependents.

       Health insurance                                                  358.47
                                                                  $____________

       Disability insurance                                                0.00
                                                                  $____________

       Health savings account                                 +            0.00
                                                                  $____________

       Total                                                             358.47
                                                                  $____________                  Copy total here .....................................        358.47
                                                                                                                                                            $________

       Do you actually spend this total amount?

          No. How much do you actually spend?                    $___________
       
       X
           Yes



   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of                                    0.00
                                                                                                                                                            $________
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).


   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the safety
       of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.                                             0.00
                                                                                                                                                            $________

       By law, the court must keep the nature of these expenses confidential.


   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on line 8.
       If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
       8, then fill in the excess amount of home energy costs.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must show that the additional amount
       claimed is reasonable and necessary.


   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than $160.42*
       per child) that you pay for your dependent children who are younger than 18 years old to attend a private or public
       elementary or secondary school.
                                                                                                                                                            $________0.00
       You must give your case trustee documentation of your actual expenses, and you must explain why the amount claimed is
       reasonable and necessary and not already accounted for in lines 6-23.
       * Subject to adjustment on 4/01/19, and every 3 years after that for cases begun on or after the date of adjustment.


   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are                                         $_______0.00
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more than
       5% of the food and clothing allowances in the IRS National Standards.
       To find a chart showing the maximum additional allowance, go online using the link specified in the separate instructions for
       this form. This chart may also be available at the bankruptcy clerk’s office.
       You must show that the additional amount claimed is reasonable and necessary.


   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial                                    100.00
                                                                                                                                                          + $_______
       instruments to a religious or charitable organization. 26 U.S.C. § 170(c)(1)-(2).


   32. Add all of the additional expense deductions.                                                                                                             458.47
                                                                                                                                                            $_______
       Add lines 25 through 31.




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Debtor 1            Kristie Jackson Stargell
                    _______________________________________________________                                                                                           17-50323-jrs
                                                                                                                                                Case number (if known)_____________________________________
                    First Name            Middle Name                   Last Name




   Deductions for Debt Payment


   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.


                                                                                                                                                            Average monthly
                                                                                                                                                            payment
                    Mortgages on your home:

           33a. Copy line 9b here ....................................................................................................................      $_____________
                                                                                                                                                                    1,719.00

                    Loans on your first two vehicles:                                                                                
           33b. Copy line 13b here. ...............................................................................................................         $_____________
                                                                                                                                                                     383.00

           33c. Copy line 13e here. ............................................................................................................ .                   30.00
                                                                                                                                                             $_____________

           33d. List other secured debts:

                                                                                                                                      
                       Name of each creditor for other                              Identify property that                          Does payment
                       secured debt                                                 secures the debt                                include taxes
                                                                                                                                    or insurance?


                       Rooms To Go
                       _______________________________                              HHG
                                                                                    ________________________
                                                                                                                                      X
                                                                                                                                             No                       7.00
                                                                                                                                                             $____________
                                                                                                                                            Yes

                       W. S. Badcock Corp.
                       _______________________________                              HHG
                                                                                    ________________________
                                                                                                                                      X
                                                                                                                                             No                      35.00
                                                                                                                                                             $____________
                                                                                                                                            Yes

                                                                                                                                            No
                       _______________________________                              ________________________                                               + $____________
                                                                                                                                            Yes

                                                                                                                                                                               Copy total
      33e. Total average monthly payment. Add lines 33a through 33d. .....................................................  $____________
                                                                                                                                  2,174.00
                                                                                                                                                                               here            2,174.00
                                                                                                                                                                                            $__________


   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No. Go to line 35.
          X
               Yes. State any amount that you must pay to a creditor, in addition to the payments
                    listed in line 33, to keep possession of your property (called the cure amount).
                    Next, divide by 60 and fill in the information below.

                         Name of the creditor                         Identify property that                     Total cure                                  Monthly cure
                                                                      secures the debt                           amount                                      amount

                          Caliber Home Loans, Inc.
                         _______________________                      Residence
                                                                      ____________________                       1,700.00
                                                                                                               $__________                 ÷ 60 =              28.33
                                                                                                                                                             $_____________

                         _______________________                      ____________________                     $__________                 ÷ 60 =            $_____________

                         _______________________                      ____________________                     $__________                 ÷ 60 =          + $_____________
                                                                                                                                                                               Copy total
                                                                                                                                            Total              28.33
                                                                                                                                                             $_____________                  28.33
                                                                                                                                                                                            $__________
                                                                                                                                                                               here


   35. Do you owe any priority claims such as a priority tax, child support, or alimony ─
       that are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No. Go to line 36.
          X
               Yes. Fill in the total amount of all of these priority claims. Do not include current or
                    ongoing priority claims, such as those you listed in line 19.

                        Total amount of all past-due priority claims ............................................................................
                                                                                                                                          $____________
                                                                                                                                                    0.00                       ÷ 60 =       $__________
                                                                                                                                                                                                    0.00

  Official Form 122A–2                                                                  Chapter 7 Means Test Calculation                                                                        page 7
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                   Kristie Jackson Stargell
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Debtor 1           _______________________________________________________                                                                                       17-50323-jrs
                                                                                                                                          Case number (if known)_____________________________________
                   First Name           Middle Name                  Last Name




   36. Are you eligible to file a case under Chapter 13? 11 U.S.C. § 109(e).
       For more information, go online using the link for Bankruptcy Basics specified in the separate
       instructions for this form. Bankruptcy Basics may also be available at the bankruptcy clerk’s office.
              No. Go to line 37.
          X   Yes. Fill in the following information.

                       Projected monthly plan payment if you were filing under Chapter 13                                                                          1,250.00
                                                                                                                                                            $_____________
                       Current multiplier for your district as stated on the list issued by the
                       Administrative Office of the United States Courts (for districts in Alabama and
                       North Carolina) or by the Executive Office for United States Trustees (for all
                       other districts).                                                                                                                x    ______
                       To find a list of district multipliers that includes your district, go online using the
                       link specified in the separate instructions for this form. This list may also be
                       available at the bankruptcy clerk’s office.
                                                                                                                                                                                      Copy total
                       Average monthly administrative expense if you were filing under Chapter 13                                                                     0.00
                                                                                                                                                            $_____________                                   0.00
                                                                                                                                                                                                     $_________
                                                                                                                                                                                      here



   37. Add all of the deductions for debt payment.                                                                                                                                                     2,202.33
                                                                                                                                                                                                     $_________
       Add lines 33e through 36. ..............................................................................................................................................................


   Total Deductions from Income


   38. Add all of the allowed deductions.

       Copy line 24, All of the expenses allowed under IRS                                                    3,870.97
                                                                                                      $______________
       expense allowances .....................................................................

       Copy line 32, All of the additional expense deductions ..........                                       458.47
                                                                                                      $______________


       Copy line 37, All of the deductions for debt payment .............                          + $______________
                                                                                                             2,202.33

                                                                     Total deductions                         6,531.77
                                                                                                      $______________                           Copy total here ...............................          6,531.77
                                                                                                                                                                                                     $_________


   Part 3:           Determine Whether There Is a Presumption of Abuse


   39. Calculate monthly disposable income for 60 months

         39a.     Copy line 4, adjusted current monthly income .....                                         6,561.52
                                                                                                      $_____________

         39b.     Copy line 38, Total deductions. .........                                       −          6,531.77
                                                                                                      $_____________

         39c.     Monthly disposable income. 11 U.S.C. § 707(b)(2).                                                                             Copy
                                                                                                               29.75
                                                                                                      $_____________                                                         29.75
                                                                                                                                                                    $____________
                 Subtract line 39b from line 39a.                                                                                               here

                   For the next 60 months (5 years) ...........................................................................................................     x 60

                                                                                                                                                                                             Copy
         39d. Total. Multiply line 39c by 60. ..................................................................................................................         1,785.00
                                                                                                                                                                    $____________
                                                                                                                                                                                             here     1,785.00
                                                                                                                                                                                                      $________


   40. Find out whether there is a presumption of abuse. Check the box that applies:

          X   The line 39d is less than $7,700*. On the top of page 1 of this form, check box 1, There is no presumption of abuse. Go
               to Part 5.

              The line 39d is more than $12,850*. On the top of page 1 of this form, check box 2, There is a presumption of abuse. You
               may fill out Part 4 if you claim special circumstances. Then go to Part 5.

              The line 39d is at least $7,700*, but not more than $12,850*. Go to line 41.

               * Subject to adjustment on 4/01/19, and every 3 years after that for cases filed on or after the date of adjustment.


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Debtor 1        Kristie Jackson Stargell
                _______________________________________________________                                                                                               17-50323-jrs
                                                                                                                                                Case number (if known)_____________________________________
                First Name            Middle Name                     Last Name




   41. 41a. Fill in the amount of your total nonpriority unsecured debt. If you filled out A
            Summary of Your Assets and Liabilities and Certain Statistical Information Schedules
            (Official Form 106Sum), you may refer to line 3b on that form. ........................................................... .
                                                                                                                                                                          $___________

                                                                                                                                                                          x   .25

           41b. 25% of your total nonpriority unsecured debt. 11 U.S.C. § 707(b)(2)(A)(i)(I).                                                                                             Copy
                                                                                                                                                                                                    $__________
               Multiply line 41a by 0.25. .............................................................................................................................
                                                                                                                                                                          $___________    here




   42. Determine whether the income you have left over after subtracting all allowed deductions
       is enough to pay 25% of your unsecured, nonpriority debt.
       Check the box that applies:

            Line 39d is less than line 41b. On the top of page 1 of this form, check box 1, There is no presumption of abuse.
             Go to Part 5.

            Line 39d is equal to or more than line 41b. On the top of page 1 of this form, check box 2, There is a presumption
             of abuse. You may fill out Part 4 if you claim special circumstances. Then go to Part 5.




Part 4:         Give Details About Special Circumstances

43. Do you have any special circumstances that justify additional expenses or adjustments of current monthly income for which there is no
    reasonable alternative? 11 U.S.C. § 707(b)(2)(B).

      No. Go to Part 5.
      Yes. Fill in the following information. All figures should reflect your average monthly expense or income adjustment
            for each item. You may include expenses you listed in line 25.


              You must give a detailed explanation of the special circumstances that make the expenses or income
              adjustments necessary and reasonable. You must also give your case trustee documentation of your actual
              expenses or income adjustments.

                                                                                                                                                                          Average monthly expense
               Give a detailed explanation of the special circumstances
                                                                                                                                                                          or income adjustment

               _______________________________________________________________________________                                                                            $__________________

               _______________________________________________________________________________                                                                            $__________________

               _______________________________________________________________________________
                                                                                                                                                                          $__________________

               _______________________________________________________________________________                                                                            $__________________




Part 5:       Sign Below


              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                   /s/Kristie Jackson Stargell
                   ___________________________________________________                                                       ___________________________________
                  Signature of Debtor 1                                                                                             Signature of Debtor 2


                       05/03/2017
                  Date _________________                                                                                            Date _________________
                          MM / DD          / YYYY                                                                                           MM / DD         / YYYY



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                                       Bank of America, N.A.
                                       Loss/Recovery
                                       POB 982284
                                       El Paso, TX 79998


                                       Barrett Daffin Frappier Levine & Block.
                                       4004 Belt Line Road
                                       Suite 100
                                       Addison, TX 75001


                                       Basix
                                       Dept LA 24483
                                       Pasadena, CA 91185-4483



                                       Basix
                                       POB 1009
                                       Palatine, IL 60078-1009



                                       Caliber Home Loans, Inc.
                                       POB 650856
                                       Dallas, TX 75265-0856



                                       Capital One Auto Finance
                                       POB 259407
                                       Plano, TX 75025



                                       Capital One Bank (USA), NA
                                       POB 30281
                                       Salt Lake City, UT 84130


                                       Cavalry SPV I, LLC
                                       500 Summit Lake Drive
                                       Suite 400
                                       Valhalla, NY 10595


                                       Children's Healthcare of Atlanta
                                       POB 3475
                                       Toledo, OH 43607
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                                       Discover Bank
                                       POB 3025
                                       New Albany, OH 43054


                                       Dixie Finance Company, Inc.
                                       2450 Piedmont Road
                                       #E-4
                                       Atlanta, GA 30324


                                       First Franklin Financial Corp.
                                       7436 Douglas Blvd
                                       Ste B
                                       Douglasville, GA 30135


                                       Fortiva Personal Loans
                                       Mid America B&T Co
                                       POB 105555
                                       Atlanta, GA 30348-5555


                                       Merrick Bank
                                       POB 171379
                                       Salt Lake City, UT 84117


                                       Midland Funding, LLC
                                       3111 Camino Del Rio Nirth
                                       Suite 1300
                                       San Diego, CA 92108


                                       Midland Funding, LLC
                                       POB 2011
                                       Warren, MI 48090



                                       OneMain Financial
                                       6801 Colwell Blvd
                                       Irving, TX 75039


                                       OneMain Financial
                                       1012 Memorial Drive
                                       Ste 8
                                       Griffin, GA 30223-2096
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                                       Pinnacle Credit Union
                                       536 North Aveneu NE
                                       Atlanta, GA 30308



                                       Pinnacle Credit Union
                                       536 North Aveneu NE
                                       Atlanta, GA 30308



                                       Pinnacle CU
                                       536 North Aveneu NE
                                       Atlanta, GA 30308



                                       Premier Bankcard/Charter
                                       POB 2208
                                       Vacaville, CA 95696



                                       Republic Finance
                                       3081 Hwy 5
                                       Douglasville, GA 30135-2387



                                       Rooms To Go
                                       1000 Macarthur Blvd
                                       Mahwah, NJ 07430



                                       Rooms To Go
                                       POB 960061
                                       Orlando, FL 32896-0061


                                       Stonybrook HOA
                                       c/o Community Managmant Associates, Inc.
                                       1465 Northside Drive, NE, Suite 128
                                       Atlanta, GA 30318-4220


                                       Synchrony Bank
                                       POB 965007
                                       Orlando, FL 32896
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                                       Synchrony Bank
                                       c/o Recovery Management Systems Corp.
                                       25 SE 2nd Ave Ste 1120
                                       Miami, FL 33131


                                       Synchrony Bank / Brandsmart
                                       POB 965005
                                       Orlando, FL 32896



                                       TD BankUSA/Target
                                       POB 673
                                       Minneapolis, MN 55440



                                       The Home Depot/CBNA
                                       POB 6497
                                       Sioux Falls, SD 57117



                                       US Dept of Education
                                       Direct Loan Servicing Center
                                       Greenville, TX 75403



                                       W. S. Badcock Corp.
                                       POB 724
                                       Mulberry, FL 33860
